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                                   No. 23-8043

                    UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT

                          IRON BAR HOLDINGS, LLC,
                              Plaintiff-Appellant,

                                         v.
                              BRADLY CAPE, et al.,
                              Defendants-Appellees.

                  On Appeal from the United States District Court
                    for the District of Wyoming, No. 22-CV-67
                Hon. Scott W. Skavdahl, United States District Judge

                      OPENING BRIEF OF APPELLANT



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                            Oral Argument Requested

 November 6, 2023
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                        STATEMENT OF RELATED CASES

        Pursuant to Tenth Circuit Rule R. 28.2(C)(3), Plaintiff-Appellant states that

  there are no prior or related appeals.




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                            CITIZENSHIP STATEMENT

        Iron Bar Holdings, LLC is a limited liability company whose sole member is

  Fred Eshelman, a citizen of North Carolina.

                          JURISDICTIONAL STATEMENT

        Iron Bar brought suit for civil trespass under Wyoming law against four

  citizens of Missouri: Bradly Cape, Zachary Smith, Phillip Yeomans, and John

  Slowensky. App. V1:38. Defendants removed to federal court, App. V1:12, 63,

  which exercised jurisdiction under 28 U.S.C. § 1332. The court granted summary

  judgment to defendants. App. V5:884. Iron Bar subsequently withdrew its remaining

  claim with prejudice, App. V5:885-86, and the district court entered final judgment

  on June 1, 2023, App. V5:889; App. V5:897-98 (amended final judgment). Iron Bar

  timely filed a notice of appeal on June 29, 2023. App. V5:890.

        This Court has jurisdiction under 28 U.S.C. § 1291. The amended final

  judgment “end[ed] the litigation on the merits and le[ft] nothing for the court to do

  but execute the judgment.” Miami Tribe of Okla. v. United States, 656 F.3d 1129,

  1137 (10th Cir. 2011); London v. Beaty, 612 F. App’x 910, 914 (10th Cir. 2015)

  (court had jurisdiction after appellant obtained dismissal with prejudice).

                                  INTRODUCTION

        Starting in the 1820s, Congress ceded vast swaths of public land in the West

  to private railroads, employing a peculiar checkerboard pattern that legislators

  mistakenly hoped would maximize the value of the alternating squares of public land

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  retained by the government. Congress, however, did not reserve any right-of-way to

  access the public parcels interspersed among the newly privatized land. Accordingly,

  today, moving from the corner of one public parcel in the checkerboard to a

  neighboring corner (known as “corner crossing”) requires trespassing through the

  adjoining private property. While the incursion can be brief, there is no de minimis

  exception to trespass.

        In 2021, four hunters corner-crossed Iron Bar’s private property, intentionally

  disregarding two “no trespassing” signs, to hunt on adjacent public lands. When they

  refused to leave or refrain from future trespass, Iron Bar sought injunctive relief and

  a declaration that the hunters’ actions were an unlawful trespass. Under Wyoming

  law, civil trespass consists of intentionally entering another’s private property, which

  includes both the land and usable space above it, without permission. Defendants

  admit they did exactly that. They can escape liability, then, only if federal law

  excused their conduct.

        The question before the Court is thus whether federal law tacitly grants the

  public a right to trespass over private property to recreate on adjacent public land.

  Defendants argue that Congress eliminated the most valuable stick in the bundle of

  property rights—the right to exclude—without ever saying so, for all current and

  future owners of the checkerboard railroad grants. Every relevant policymaker has

  concluded otherwise. The Bureau of Land Management, charged by Congress with



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  administering the nation’s public lands, and the Wyoming Attorney General, the

  Wyoming Game & Fish Department, and local county prosecutors have all decided

  that federal law provides no exception, and that corner crossing is an actionable

  trespass.

        This is not a question of first impression for the judiciary. In 1979, the

  Supreme Court unanimously held that the government did not possess any right-of-

  way across private land corners to access its “landlocked” parcels in the

  checkerboard. The Supreme Court squarely rejected the argument, which this Court

  had previously accepted in the same case, that Congress “implicitly reserved an

  easement to pass over the [privately owned] sections in order to reach the [public]

  sections that were held by the Government.” Leo Sheep Co. v. United States, 440

  U.S. 668, 678 (1979). The Supreme Court held “both as a matter of common-law

  doctrine and as a matter of construing congressional intent, we are unwilling to imply

  rights-of-way, with the substantial impact that such implication would have on

  property rights granted over 100 years ago.” Id. at 681-82. The Court observed that

  federal officials shared the same understanding: “When the Secretary of the Interior

  has discussed access rights, his discussion has been colored by the assumption that

  those rights had to be purchased.” Id. at 687. That holding resolves this case: Private

  citizens—as licensees of the government—do not have an access right superior to

  that of the government itself.



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        Sweeping aside this controlling precedent and the uniform views of the

  political branches, the district court held that defendants were not liable for

  trespassing through Iron Bar’s property. The district court did not identify any

  positive source of law exempting corner crossing from Wyoming trespass law;

  instead, it relied primarily on a 100-year-old Eighth Circuit decision about grazing

  customs—a decision that is not binding, persuasive, or even valid today.

        If upheld, the decision below would effectuate one of the broadest judicial

  takings of private property in American history. It also would short-circuit an

  ongoing political process. For decades, the political branches have been

  implementing nuanced access solutions that respect existing private property rights,

  including through the use of eminent domain. To be clear, Iron Bar supports access

  solutions, and its owner has offered to swap land with government authorities to

  consolidate the checkerboard and enhance public access to public lands. This Court

  should not undermine these and other political initiatives by unilaterally decreeing—

  contrary to Supreme Court precedent—that private property owners alone must bear

  the cost of public access.

                               STATEMENT OF THE ISSUE

        Whether defendants committed civil trespass under Wyoming law when they

  intentionally and repeatedly entered into and crossed Iron Bar’s property without

  permission to access adjacent public land.



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                             STATEMENT OF THE CASE

        A.     History of Public Land Development in the West

               1.     Public Land Surveys

        On May 20, 1785, the Confederation Congress passed the Land Ordinance of

  1785 to establish a system for the survey, sale, and settling of the country’s newly

  acquired territories. A few years earlier, the plucky colonials had prevailed in the

  Revolutionary War, forcing Great Britain to recognize not only American

  independence but also the new republic’s rights to most territory east of the

  Mississippi River. 8 Stat. 80, 81-82. A new country was born, and property was a

  first order of business.

        For Congress, that vast territory came as a godsend. The federal government

  emerged from the war with large debts and no meaningful taxing power under the

  Articles of Confederation. Andro Linklater, Measuring America 69-70 (2002).

  Congress sought to solve its debt dilemma by selling the country’s new territories.

  Before that territory could be sold, however, it had to be surveyed. Id. at 67. Hence

  the Land Ordinance of 1785, which established the Public Land Survey System that

  surveyors would use to plat (i.e., divide) the land west of the thirteen original

  colonies. 1 Laws of the United States 563-64 (1815).

        Surveyors platted landscapes into six-mile-by-six-mile squares called

  “townships.” Bureau of Land Management, Manual of Surveying Instructions for

  the Survey of the Public Lands of the United States 12 (2009) [BLM Surveying

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  Manual]. Each township was then subdivided into 36 one-mile-by-one-mile parcels

  of land called “sections.” Id. Sections contained approximately 640 acres, and

  surveyors sequentially numbered each section from 1 to 36, starting with each

  township’s northeastern-most section and snaking west and east until reaching

  Section 36, the southeastern-most section. Id.

                          6        5     4        3    2      1


                          7        8     9        10   11     12


                          18      17     16       15   14     13


                          19      20     21       22   23     24


                          30      29    28        27   26     25


                          31      32     33       34   35     36


        Surveyors marked the section boundaries by placing monuments at each

  corner where four sections met. BLM Surveying Manual at 105. Early surveyors

  created monuments from whatever was at hand: rocks, sticks, mounds, tree carvings,

  and even dinosaur bones. App. V1:178. Since these early monuments had “a

  tendency to deteriorate over time,” id., surveyors began replacing them with

  standardized, die-cast “brass caps,” each roughly the size of a soda can, BLM

  Surveying Manual at 106. That re-monumenting effort continues today.

  App. V1:182-83.

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               2.    Creating the Checkerboard

        During the eighteenth and early nineteenth centuries, the federal government

  sold off surveyed land to repay its debts, even as it acquired new territory from

  France, Spain, and Mexico. Congress, however, soon devised more ambitious plans

  for unsold federal land.

        Congress came to believe that the country’s prosperity depended on

  enhancing transportation infrastructure. Questions lingered, however, over the

  constitutionality of the federal government directly subsidizing “internal

  improvements,” 2 Joseph Story, Commentaries on the Constitution 166-71 (5th ed.

  1891), and private companies often lacked the funds necessary to undertake these

  massive construction projects.



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        Congress found the solution in land: the federal government would finance

  the country’s internal improvements through public land grants. States and private

  companies would construct roads, canals, and eventually railroads; in exchange, they

  would receive grants of nearby public land that they could sell to finance the work.

        But Congress wanted more: giving away public land would still leave the

  federal government at a loss, arguably in violation of constitutional prohibitions. So

  starting in the 1820s, Congress began granting public land in an unusual pattern.

  Rather than conveying large blocks of contiguous land, Congress deliberately began

  granting only alternate sections of land (usually the odd-numbered parcels),

  interspersing squares of soon-to-be private land with squares of federally owned

  land. Paul Gates, History of Public Land Law Development 357-58 (1968). The

  result was a “checkerboard”
                                        PUBLIC    PRIVATE       PUBLIC      PRIVATE
  pattern of land ownership, in

  which the federal government

  reserved control of every other      PRIVATE     PUBLIC      PRIVATE       PUBLIC

  section,   while    states     and

  private    actors   owned      the    PUBLIC    PRIVATE       PUBLIC      PRIVATE

  remainder.

        The motivation for this land-grant scheme was nakedly economic: the federal

  government hoped that, once the squares of granted (i.e., private) land had



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  appreciated in value, it could sell the interspersed public land at a premium. One

  leading proponent, Senator Stephen Douglas, enthused that the scheme would make

  the retained government lands “saleable at double the usual price.” Cong. Globe,

  31st Cong., 1st Sess., 845 (1850). He was not alone in his excitement. “[A]s the

  Congressional Globe shows ad infinitum,” politicians hoped “that by giving half the

  land away and thereby making possible construction of the road, canal, or railroad,

  the government would recover from the reserved sections as much as it would have

  received from the whole.” Gates, supra, at 346.

        Congress implemented the checkerboard land-grant scheme at scale during

  construction of the transcontinental railroad. On July 1, 1862, Congress passed the

  Pacific Railroad Act, creating the Union Pacific Railroad Company and empowering

  it to construct a transcontinental railroad. 12 Stat. 489, 490, § 1. To incentivize

  construction, Congress granted Union Pacific “every alternate section of public land,

  designated by odd numbers, … within the limits of ten miles on each side of said

  road,” id. at 492, § 3, later doubled to twenty miles on each side, Act of July 2, 1864,

  13 Stat. 356, 358. By the early 1870s, Congress had given away 150 million acres

  of checkerboarded land, with 130 million acres going to the railroad companies

  alone. Gates, supra, at 379, 384-85.




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                            FEDERA L LAND GRANTS FOR RAILROADS




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         of t h<r a, Hs in wh,ch the railr""~ rt •
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                          3.            Range Wars

            Congress’s checkerboard scheme would lead to serious and recurring access

  problems over the next 150 years.

            Congress did not reserve any rights to access the public lands it retained in the

  checkerboard; indeed, it had not seen any point in doing so, since legislators assumed

  that “when development came, it would occur in a parallel fashion on adjoining

  public and private lands and that the process of subdivision, organization of a polity,

  and the ordinary pressures of commercial and social intercourse would work itself

  into a pattern of access roads.” Leo Sheep Company v. United States, 440 U.S. 668,



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  686, 681 (1979). Seemingly everyone assumed the government would have no

  trouble selling the reserved sections of public land.

        Everyone was wrong. Far from selling its reserved sections at a premium, the

  government could not dispose of its holdings even at minimum prices. Settlers

  scooped up a few sections with significant sources of water but passed over what

  remained because it was not economically viable in the arid West. Id. at 683.

        Conflicts over access did not surface immediately. Partly, that was because

  the West remained underpopulated. Partly, it was because of the custom of the “open

  range.” Common-law property principles would ordinarily have obliged ranchers to

  “confine [their stock] to [their] own land”; if they did not, they would “be liable for

  trespasses committed by [that stock] upon the uninclosed lands of others.” Lazarus

  v. Phelps, 152 U.S. 81, 84 (1894). “Such a principle,” however, “was ill adapted to

  the nature and condition of the [West],” Buford v. Houtz, 133 U.S. 320, 328 (1890),

  which still possessed “vast tracts of uninclosed land, suitable for pasture,” Light v.

  United States, 220 U.S. 523, 535 (1911).

        So across the West, a different custom arose: “Everybody used the open,

  uninclosed country … as a public common on which their horses, cattle, hogs, and

  sheep could run and graze.” Buford, 133 U.S. at 327-28. That custom applied not

  just to public lands—which individuals could use freely pursuant to an “implied

  license” from the government, id. at 323—but also, to some extent, to private lands.



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  The result was a “fence-out” property regime, under which “the owner of land was

  obliged to inclose it with a view to its cultivation; that without a lawful fence he

  could not, as a general thing, maintain an action for a trespass thereon by the cattle

  of his neighbor running at large; and that to leave uncultivated lands uninclosed was

  an implied license to cattle and other stock at large to traverse and graze them.” Id.

  at 330.

        As more settlers moved west, residents began fighting for control. Cattlemen

  fought against encroaching settlers, but their greatest animosity was reserved for

  sheep herders, whose ravenous flocks de-pastured the rangeland and made it

  unsuitable for cattle. Pub. Lands Council v. Babbitt, 529 U.S. 728, 732 (2000);

  Omaechevarria v. State of Idaho, 246 U.S. 343, 344-45 (1918). Sometimes these

  rivalries turned deadly. Cattlemen mercilessly drove sheep off cliffs to their deaths,

  and antagonists on both sides were quick to shoot opposing stock—and their

  owners—on sight. Candy Moulton, Conflict on the Range, True West (Aug. 28,

  2011). Estimates vary, but dozens of ranchers and rustlers were killed in these “range

  wars.” Id.

        Congress sought to tamp down these conflicts by outlawing some cattlemen’s

  practice of erecting fences around hundreds of thousands of acres of land, enclosing

  not only their own lands but also those of the federal government. The Unlawful

  Inclosures Act of 1885, 43 U.S.C. § 1061, outlawed such fencing and also prohibited



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  any “unlawful” attempts to “prevent or obstruct … any person from peaceably

  entering upon … any tract of public land,” id. § 1063. Shortly after its passage, the

  Supreme Court explained that the statute was grounded in the government’s power

  to “protect[] the public lands from nuisances erected upon adjoining property.”

  Camfield v. United States, 167 U.S. 518, 528 (1897).

        Peace eventually came with the closing of the open range. For all its

  neighborly virtues, the open range had led to a tragedy of the commons. Stock

  growers not only fought over control but also let their herds overgraze the public

  rangelands, destroying its topsoil. Pub. Lands Council, 529 U.S. at 732-33.

  Overgrazing and drought combined to create the “devastating storms of the Dust

  Bowl.” Id. Congress responded by passing the Taylor Grazing Act of 1934, 43

  U.S.C. § 315. The Act allowed the president to withdraw the public’s implied license

  to graze stock on public lands and replaced it with a system of exclusive grazing

  permits that largely endures to this day. 48 Stat. 1269, 1269-71; United States ex rel.

  Bergen v. Lawrence, 848 F.2d 1502, 1506 (10th Cir. 1988) (“[T]he Taylor Grazing

  Act put an end to the open public range.”). That policy change consigned the open

  range to the history books, along with the West’s free-for-all grazing custom.

        Even as these developments signaled the end of the range wars, they opened

  a new conflict over access to public land. After the Taylor Grazing Act, the federal

  government ended its longstanding (if mostly futile) attempts to sell its



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  checkerboarded parcels. George Gould, Comment, Access to Public Lands Across

  Intervening Private Lands, 8 Land & Water L. Rev. 149, 150-51 (1973). Going

  forward, the government would become more custodian than seller, charged with

  managing public lands for public use. That shift was formalized in the Federal Land

  Policy and Management Act of 1976, 43 U.S.C. § 1701, which declared that public

  lands should generally “be retained in Federal ownership,” id. § 1701(a)(1), and

  “utilized in the combination that will best meet the present and future needs of the

  American people,” id. § 1702(c).

        Gradually, dormant questions about access began surfacing. For decades, the

  custom of the open range had provided cattlemen, sheep herders, and others with

  functional access to public rangeland, thereby mostly sparing courts from having to

  decide whether other methods of legal access existed. See, e.g., Gould, supra, at 155-

  56. But now, the demise of that custom and the rise of the government’s new

  custodial role threw into sharp relief the question that had long lurked in the

  background: Did the federal government—and the public as its licensee—reserve an

  easement to cross private property for access to public land in the checkerboard?




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               4.     Leo Sheep

        The Supreme Court answered that question in Leo Sheep Company v. United

  States, 440 U.S. 668 (1979). Leo Sheep and Palm Livestock were successors-in-

  interest to several odd-numbered parcels of land originally granted to Union Pacific.

  Id. at 677-78. After receiving numerous requests for public access, the federal

  government built a road across the corners of the companies’ checkerboarded land

  to create public access to a nearby reservoir.




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        Leo Sheep sued to quiet title. In response, the federal government claimed a

  right of access under an easement implicitly reserved in the initial railroad land

  grants and later confirmed by the Unlawful Inclosures Act. The Supreme Court

  rejected both arguments, holding that if the federal government wanted to access its

  land across Leo Sheep’s parcels, it would need to use its power of eminent domain

  and pay just compensation. Id. at 687-88.

        Leo Sheep ended the federal government’s claim to a generalized right of

  access to checkerboarded public land. The government reoriented its policies toward

  securing public access in ways consistent with private-property rights. Over the next

  half century, state, local, and private actors worked cooperatively toward that end.

  Infra Part II.C.

        Such efforts have borne fruit even as work remains. Congress granted

  approximately 150 million acres of checkerboarded land to private owners, reserving

  essentially the same amount. One estimate suggests that there remain at most 8.3

  million acres of “corner-locked” public land—that is, public land that touches other

  public land at a corner but is otherwise surrounded by private land. App. V4:618.

  The BLM manages roughly 5.8 million acres of that amount, App. V4:627,

  representing approximately 2.4% of its 245-million-acre portfolio, BLM, About Us

  (2023), https://on.doi.gov/3tYhowO.




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        For some, however, government-led efforts to ensure public-land access have

  not produced results fast enough. Some recreationists have engaged in self-help

  through a practice called “corner crossing,” which involves stepping from one corner

  of public land to another across private property. Since corners meet at an

  infinitesimally small point, corner crossing always involves a person intruding,

  however briefly, through private property. For that reason, BLM and state officials

  have consistently underscored that corner crossing is unlawful. Infra Part I.C.

        B.     Case Background

        In 2005, Fred Eshelman purchased roughly 22,000 acres of private land on

  Elk Mountain in Carbon County, Wyoming, through Iron Bar Holdings. App. V1:80.

  Because Elk Mountain was part of the checkerboard granted to Union Pacific, Dr.

  Eshelman relied on “definitive[]” guidance from the BLM about corner crossing’s

  illegality in the purchase process. App. V4:728.

        Since then, Iron Bar has not sought to wall off Elk Mountain. Quite the

  opposite: Dr. Eshelman has opened his property to government officials and even

  strangers who have reached out and asked permission to cross or hunt. App. V3:386-

  87; App. V4:730. Dr. Eshelman also partners annually with the Wyoming Game &

  Fish Department to turn thousands of acres of his ranch into a “hunter management

  area” for the public to hunt for antlerless elk. Wyoming Game & Fish Dep’t, Elk

  Mountain Hunter Management Area (2023), https://bit.ly/3u0MAeO. Finally, and



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  most important to him personally, Dr. Eshelman enrolled Elk Mountain Ranch in

  Hunting with Heroes, a program that “give[s] back to our nation’s disabled veterans

  by honoring them with unique hunting, fishing and other outdoor experiences.”

  Hunting with Heroes Wyoming (2020), https://bit.ly/46UMmVl.

        Like other ranch owners, Dr. Eshelman has been forced to address trespassers,

  including corner crossers. In 2015, Iron Bar’s property manager asked the Wyoming

  Game & Fish Department about the best way to prevent trespassing. App. V3:441-

  43. An officer advised him to post two “no trespassing” signs on either side of

  checkerboard corners where trespassing had

  been an issue. Id. The property manager

  complied, staking two signs on the corner

  closest to the county road that snakes

  through public and private parcels north of

  Elk Mountain. Each sign gave the phone

  number for Elk Mountain Ranch. Id. The

  manager installed a metal chain linking the

  signs across the corner. App. V3:444.

        Signs were not enough; the ranch repeatedly encountered corner crossers. In

  2018, Dr. Eshelman approached the State of Wyoming to propose a land swap: Dr.

  Eshelman would trade 2,240 acres of his property for 2,240 acres of the State’s



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  landlocked property. App. V5:909-10, 939-40. From the perspective of public

  access, this deal should have been a no-brainer: not only would the State gain 2,240

  acres of newly accessible land, but it would also open up public access to an

  additional 840 acres of otherwise inaccessible public land. App. V5:926. But in

  2020, the State scuttled the proposed swap when it learned that Dr. Eshelman’s

  property had a conservation easement that could prevent the State from maximizing

  revenue from the land. App. V5:939-40.

        So Dr. Eshelman proposed a second land swap, this time to the BLM. On

  November 30, 2020, he wrote to BLM’s Wyoming State Director to explain that

  “[i]n recent months,” the ranch had “noticed hunters, often traveling from out-of-

  state, who have corner-jumped their way across the checkerboard” in ways that

  raised serious concerns about “the safety of [Iron Bar’s] owners, guests, employees

  and other invitees as well as its cattle and property.” App. V5:908. Since Dr.

  Eshelman “share[d] the growing sentiment that increased public access to BLM

  lands … would be a beneficial and a worthwhile goal,” he wanted to explore

  “possible longer-term solutions” to the checkerboard problem that would respect his

  property rights and ensure public access. Id. Foremost was “the possibility of

  mutually beneficial land exchanges that would result in the transfer of some of the

  landlocked BLM parcels for more valuable tracts.” Id. But, as before, the swap never

  materialized.



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        One corner-crossing incident that had spurred Iron Bar’s land-swap proposal

  involved hunters from Missouri. In 2020, Defendant Bradly Cape planned a hunting

  trip on Elk Mountain with Phillip Yeomans and Zachary Smith. Add. 5-6. After

  arriving on site, the men approached the corner with the “no trespassing” signs.

  Add. 7-8. The hunters did not call the number for Elk Mountain Ranch or otherwise

  ask permission to enter Iron Bar’s land. App. V3:481. Instead, they grabbed the posts

  and swung themselves around, across Iron Bar’s property, landing on the adjoining

  public land. Add. 8. Over the next week, they crossed Iron Bar’s property at multiple

  corners. Add. 8, 11. The hunters would later recall that they repeatedly crossed the

  corners designated by pin drops 1, 2, 5, and 8 on the map below. Add. 8.




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        Iron Bar staff learned of the three hunters’ presence. Id. After confirming that

  the hunters had crossed Iron Bar’s property and planned to do so again, Iron Bar’s

  property manager warned that he would call the Carbon County Sheriff’s Office.

  App. V3:512. Undeterred, the hunters responded, “you do what you got to do.”

  App. V3:513. The Sheriff’s Office assured Iron Bar that it would cite the hunters,

  and the incident seemed closed. App. V2:250.


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        It was not. One year later, the hunters returned to Elk Mountain Ranch with a

  fourth companion, John Slowensky. Add. 10. Mr. Cape again planned the hunt on

  land accessible only by crossing Iron Bar’s property; this time, he constructed an

  A-frame ladder to climb over the “no

  trespassing” signs. Id. After the hunters

  crossed    that   initial    corner,   they

  proceeded to repeatedly cross the same

  corners as the year before, along with

  several new corners designated by pin

  drops 3, 4, 6, and 7. Id.

        Once again, Iron Bar learned of the hunters’ presence, and once again its staff

  confronted them. Add. 12. When the hunters refused to stop trespassing, the property

  manager called the prosecutor’s office, which directed the Sheriff’s Office to write

  citations for criminal trespass. Id. Wyoming Game & Fish instructed the hunters to

  leave Iron Bar’s property. Id.

        Carbon County prosecuted the hunters for criminal trespass. “[C]orner

  crossing is illegal,” the county attorney explained, noting that the County had “a

  consistent policy” of citing offenders under the State’s criminal trespass law “at least

  since 2008.” Resp. to Defs.’ Mot. to Dismiss at 2, State of Wyoming v. Cape, No.

  CT-2021-5869 (Mar. 8, 2022). In April 2022, a jury acquitted the hunters. Add. 13.



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        C.     Proceedings Below

        In February 2022, Iron Bar filed this civil trespass action against the four

  hunters in Wyoming state court. Iron Bar sought a declaratory judgment that corner

  crossing was unlawful and an order restraining the defendants from future

  unauthorized entry. App. V1:52-56. Defendants, who are Missouri citizens, removed

  the case to federal court. App. V1:12.

        On May 26, 2023, the district court ruled on the parties’ cross-motions for

  summary judgment. The court began by accepting the property-law principles put

  forward by Iron Bar—that “subject to certain restrictions, a private landowner owns

  the airspace within a reasonable height of the land and enjoys a right to exclude

  others from that airspace.” Add. 14. “Taken together,” the district court noted, “this

  would appear dispositive of the matter.” Add. 16.

        But the court then held that landowners face “numerous restrictions on the full

  use of alienability of land,” limits that can arise from “express legal restrictions,”

  “background principles,” and “preexisting federal-law limitations on what otherwise

  would be state-law property rights.” Id. The court did not identify any state or federal

  law that expressly limits the right of private landowners to control the space above

  their land; nor did the court identify any law expressly granting the public an

  easement to pass through that space. Instead, citing “history, federal caselaw, federal

  statutory law, and recent Wyoming legislation,” the court held that some unspecified



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  combination of those factors “demonstrate[d]” that the public has “the right to the

  benefit of the public domain, which necessarily requires some limitation on the

  adjoining private landowner’s right of exclusion within the checkerboard pattern of

  land ownership.” Add. 17.

        Central to the district court’s reasoning was a century-old decision, Mackay v.

  Uinta Development Company, 219 F. 116 (8th Cir. 1914). In Mackay, the Eighth

  Circuit held that a sheep herder had the right to drive his three-quarter-mile-wide

  flock across private parcels in the checkerboard, and that the herder also had no

  obligation to pay damages for his flock devouring 90% of the private grassland along

  the way. Add. 17-18 (citing Mackay, 219 F. at 117-18). Seeing “many parallels to

  the instant lawsuit,” the district court held that it was bound (and persuaded) by

  Mackay, and that Mackay “entitled” every member of the public “to a reasonable

  way of passage” over private land to access checkerboarded public parcels. Add. 17,

  19.

        Contemplating the checkerboard problem, the district court concluded that

  “[i]t is only reasonable for the owner of the private sections and the public, as the

  owner of the alternating sections, to share in the solution.” Add. 27. Accordingly,

  “the Court [found] that where a person corner crosses on foot within the

  checkerboard from public land to public land without touching the surface of private

  land and without damaging private property, there is no liability for trespass.” Id.



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        Following the decision, several state agencies reaffirmed their longstanding

  view that corner crossing is unlawful. See, e.g., Montana Fish, Wildlife & Parks,

  FWP Issues Statement on Wyoming Corner Crossing Case (June 1, 2023),

  https://bit.ly/3FFjX9z (“Corner crossing remains unlawful in Montana[.]”). The

  BLM, after some initial confusion, also confirmed it had not changed policies. Mike

  Koshmrl, Feds Walk Back BLM Boss’ Corner Crossing Directive, WyoFile (July 14,

  2023), https://bit.ly/45ZXnTQ. A BLM communications director emphasized that if

  the district court’s decision “holds up under appeal and becomes the law of the land,

  there [would need] to be time so we can work with private landowners.” Id.

  He underscored: “This will be a change.” Id.

                           SUMMARY OF ARGUMENT

        I.     Corner crossing constitutes civil trespass under Wyoming law. Iron Bar

  possesses as much of a property interest in the area immediately above its land as in

  the surface itself. It also holds the right to exclude others from that property.

  Defendants concede they intentionally entered Iron Bar’s property without

  permission. Those undisputed facts establish a trespass under Wyoming law,

  consistent with longstanding state and federal guidance.

        Nothing in federal law creates a trespass exception for corner crossing. The

  Supreme Court clarified 45 years ago that Congress did not reserve a right of access

  to public lands in the checkerboard. Leo Sheep Co. v. United States, 440 U.S. 668



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  (1979). Since the federal government lacks a right of access to its land, so do its

  licensees, including defendants here. Likewise, the Unlawful Inclosures Act creates

  no affirmative right of access to public lands. While the Act precludes the unlawful

  fencing of public lands, nothing in the Act gives recreationists free rein to access

  public lands by encroaching on private property.

        II.    The district court erred when it relied on amorphous “background

  principles” of property law to create a federal right to corner cross. The primary basis

  for the district court’s holding—Mackay v. Uinta Development Co., 219 F. 116 (8th

  Cir. 1914)—is not binding on this Court, is not persuasive, and is no longer good

  law. Mackay was rooted in now-obsolete grazing customs on the open range, and

  the decision has nothing to say about recreational corner crossing. Even if Mackay

  had purported to grant the public broad access rights within the checkerboard, those

  rights did not survive Leo Sheep.

        The judiciary is ill-suited to settle policy debates surrounding corner crossing.

  However well-meaning, the district court’s ruling will lead to trespassing and

  damage to private property across the West; impose significant costs on property

  owners; and harm the environment, all without guaranteeing greater access to public

  lands. Resolution of these issues is best left to politically accountable actors who

  can—and are—implementing initiatives that balance the public’s right to access

  public lands with the rights of private property owners.



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                              STANDARD OF REVIEW

        This Court reviews a grant of summary judgment de novo. LKL Assocs., Inc.

  v. Union Pac. R.R., 17 F.4th 1287, 1294 (10th Cir. 2021). On cross-motions for

  summary judgment, the court “must view the inferences to be drawn from affidavits,

  attached exhibits and depositions in the light most favorable to the party that did not

  prevail.” Allen v. Sybase, Inc., 468 F.3d 642, 649 (10th Cir. 2006).

                                     ARGUMENT

  I.    Corner Crossing Is Unlawful

        The protection of private property rights “is indispensable to the promotion of

  individual freedom.” Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2071 (2021).

  “[P]erhaps the most fundamental” property right is the right to exclude, Lingle v.

  Chevron U.S.A. Inc., 544 U.S. 528, 539 (2005), the “sine qua non” of property itself,

  Cedar Point, 141 S. Ct. at 2073, because that right enables all others. Here, the right

  to exclude establishes that when defendants repeatedly and intentionally crossed the

  corners of Iron Bar’s property, they committed a civil trespass under Wyoming law

  that was unauthorized by federal law. Federal and state authorities agree, having

  deemed the practice unlawful for decades.

        A.     Corner Crossing Is a Civil Trespass Under Wyoming Law

        In Wyoming, “exclusive possession is a fundamental element of property

  ownership.” Sammons v. Am. Auto. Ass’n, 912 P.2d 1103, 1105 (Wyo. 1996).

  “Ownership of property implies the right of possession and control and includes the

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  right to exclude others” and “to expel trespassers.” Id. (citing PruneYard Shopping

  Ctr. v. Robins, 447 U.S. 74, 82 (1980)).

        Civil trespasses are actionable under the common law in Wyoming, where

  they are defined in the context of real property as “invasions of the interest in the

  exclusive possession of land and in its physical condition.” Bellis v. Kersey, 241 P.3d

  818, 824-25 (Wyo. 2010). Civil trespass has two elements: first, the plaintiff must

  have been “in possession of the property when the entry occurred,” and second, the

  defendant must have “intentionally entered upon that property.” Trespass Elements,

  Wyoming Civil Pattern Jury Instructions § 21.09 (2022), https://bit.ly/3M5lXLQ; cf.

  Wyo. Stat. § 34-19-201(a)(iii) (defining “trespasser” as “a person or persons who

  enter or remain upon land in the possession of another without a privilege to do so

  created by the owner’s consent or otherwise”).

        Each element is met here. First, Iron Bar indisputably possessed the property

  when the entry occurred. Second, defendants concede that they intentionally crossed

  over the corners of land possessed by Iron Bar. App. V4:792 (“Defendants did cross

  on foot or with an A-frame ladder through the airspace situated above the corners

  shared by Plaintiff’s lands and public lands.”).

        Defendants stress they never “set foot” on the surface of those corners, but

  that is irrelevant. State law establishes that “[t]he ownership of the space above the

  lands and waters of this state is declared to be vested in the several owners of the



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  surface beneath.” Wyo. Stat. § 10-4-302. Iron Bar thus has the same possessory

  interest in the area immediately above its land as it does in the land’s surface. Indeed,

  property law has never distinguished between the two. United States v. Causby, 328

  U.S. 256, 265 (1946) (“invasions of [area above the surface of land] are in the same

  category as invasions of the surface”); Restatement (Second) of Torts § 159 (1965)

  (trespass may be committed “on, beneath, or above the surface of the earth”). That

  makes practical sense: “it is obvious that if the landowner is to have full enjoyment

  of the land, he must have exclusive control of the immediate reaches of the

  enveloping atmosphere.” Causby, 328 U.S. at 264.

        Defendants also argue that even though they intentionally entered Iron Bar’s

  property, they passed through it temporarily and caused no permanent damage.

  App. V3:360-61. That, too, is irrelevant. Civil trespass in Wyoming does not have a

  duration requirement, nor does it require any showing of actual damage. Instead,

  “Wyoming follows the general rule that at least nominal damages are available

  where an actionable trespass has occurred.” Goforth v. Fifield, 352 P.3d 242, 250

  (Wyo. 2015); accord Trespass Damages, Wyoming Civil Pattern Jury Instructions

  § 21.11 (2022), https://bit.ly/48XeIQc (collecting caselaw). “A trespass cannot be

  justified by proof that the damages were only nominal or even that the plaintiff

  benefited by it.” Harmony Ditch Co. v. Sweeney, 222 P. 577, 579 (Wyo. 1924).




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        That principle reflects a fundamental tenet of property law: even de minimis

  intrusions qualify as trespasses. Keeton et al., Prosser and Keeton on the Law of

  Torts § 13, at 75, 78-79 (5th ed. 1984). The Restatement (Second) of Torts explains

  that plaintiffs need not show interference with (or injury to) the use of the land to

  establish an above-ground trespass; rather, “an unprivileged intrusion into the space

  above the surface of the earth, at whatever height above the surface, is a trespass.”

  Restatement § 159 cmt. f. The Restatement illustrates the point with two examples

  of above-ground trespasses relevant here:

        3.        A extends his arm over the boundary fence between A’s land and
                  B’s land. A is a trespasser.

        4.        A, while hunting birds on a public pond, fires shot across B’s
                  land close to the surface. The shot do not come to rest on B’s
                  land, but fall into another public body of water on the other side
                  of it. A is a trespasser.

  Id., illus. 3 and 4. By emphasizing the transitory nature of their unauthorized entry,

  defendants are merely contesting the extent of damages, not their underlying liability

  for trespass.

        Courts confronting materially identical property-law regimes have held that

  corner crossing constitutes a trespass. In Koenig v. Aldrich, 949 N.W.2d 882 (Wis.

  Ct. App. 2020) (unpub.), a landowner owned a parcel of land that “checkerboards

  with three other parcels,” including a county-owned parcel diagonal to his parcel.

  Id. at *1. He sought to access the county land “by stepping directly from his property



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  onto the county-owned property,” thereby “enter[ing] the airspace above” his

  neighbors’ corners. Id.

            On appeal, the Wisconsin Court of Appeals affirmed the lower court’s finding

  of trespass, rejecting the landowner’s argument for a “trespass exception” for corner

  crossing. Id. The Court of Appeals largely relied on Wisconsin’s statute vesting

  ownership of the space above the lands in the owner of the surface beneath—a statute

  identical in all relevant respects to Wyoming law. Compare id. at *2 (quoting Wis.

  Stat. § 114.03), with Wyo. Stat. § 10-4-302. The court held that, as in Wyoming,

  “[o]ne is subject to liability to another for trespass, irrespective of whether he …

  thereby causes harm to any legally protected interest of the other.” Koenig, 949

  N.W.2d at*2. Relying in part on the Restatement, the court rejected the landowner’s

  “‘stepping over’ contention and conclude[d] the circuit court properly determined

  that [the landowner’s] intrusion into the airspace above [his neighbors’] property

  constituted a trespass.” Id. at *2-3.

            Wyoming law requires the same result here. Corner crossing is unlawful under

  state law, and Iron Bar properly brought a civil trespass claim to enforce its property

  rights.

            B.    Federal Law Does Not Authorize Corner Crossing

            Since defendants trespassed under state law, they can prevail only if corner

  crossing is authorized by federal law—either because Congress reserved an



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  easement for public access in its checkerboard land grants, or because Congress

  subsequently created a public right of access that preempts private property owners’

  right to exclude. Binding precedent forecloses either possibility. In Leo Sheep, the

  Supreme Court held that Congress reserved no right of access in the railroad land

  grants to checkerboarded public lands. The Supreme Court has also rejected the

  contention that Congress created a preemptive right of access in the only possibly

  relevant subsequent statute, the Unlawful Inclosures Act.

              1.     Congress Did Not Reserve an Easement to Access Public
                     Lands in the Checkerboard

        When Congress conveyed land to Union Pacific in the 1860s, it granted the

  odd-numbered sections of land without reserving any right of access to the remaining

  even-numbered sections. As the Supreme Court held in Leo Sheep, that choice was

  deliberate (if short-sighted), and it means that, absent permission, neither the

  government nor the public may cross privately owned sections of the checkerboard

  in order to access land still owned by the government.

        Like Iron Bar, Leo Sheep Company and Palm Livestock Company were

  successors-in-interest to odd-numbered sections of land in Carbon County,

  Wyoming. Leo Sheep, 440 U.S. at 677-78. Like Iron Bar, “the checkerboard

  configuration” of those companies’ lands made it “physically impossible” for the

  public to access public parcels “without some minimum physical intrusion” to the

  companies’ private parcels. Id. at 678. From the government’s perspective, that was


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  untenable, because northwest of the companies’ properties lay the Seminoe

  Reservoir, an area where the public liked to fish and hunt. Id. Following public

  requests for access, the government cleared a dirt road that crossed the companies’

  properties at two corners. Id.; Leo Sheep Co. v. United States, 570 F.2d 881, 884

  (10th Cir. 1977). The companies sued to quiet title, and the district court granted

  their motion for summary judgment. Leo Sheep, 440 U.S. at 678.

        On appeal, this Court reversed and held that Congress had “intended to reserve

  an easement to permit access to the even-numbered sections which were surrounded

  by lands granted the railroad.” Leo Sheep, 570 F.2d at 885. Otherwise, this Court

  concluded, neither the government nor the public would be able to access “the

  interlocking even-numbered sections,” id., which would contravene what this Court

  saw as “the right of the Government and the public to have access to the public

  domain,” id. at 888. To support this purported right of access, this Court stressed

  “the teaching” of three cases, id. at 892: Camfield v. United States, 167 U.S. 518

  (1897), Buford v. Houtz, 133 U.S. 320 (1890), and Mackay v. Uinta Dev. Co., 219

  F. 116 (8th Cir. 1914).

        Judge Barrett dissented, observing that “the United States [had] not believe[d]

  for the past 110 years that it was endowed with the gratuities found in the majority

  opinion.” Id. at 889. Judge Barrett criticized the majority for engaging in “judicial

  legislation” to fix Congress’s mistakes. Id. at 890.



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        Certiorari was granted to resolve “[w]hether the United States reserved a right

  of access to the retained even-numbered sections of land when it granted the Union

  Pacific Railroad title to the odd-numbered sections completely surrounding the even-

  numbered sections.” Brief for the United States, Leo Sheep Co. v. United States, 440

  U.S. 668 (No. 77-1686), 1978 WL 223187, at *1 (“U.S. Br.”). Leo Sheep and Palm

  Livestock argued that Congress failed to expressly reserve a right of access, and the

  federal government could not rely on the common-law doctrine of easements by

  necessity because no necessity existed: the government could always access its

  property by exercising its eminent domain power. Brief of Leo Sheep, Leo Sheep,

  440 U.S. 668 (No. 77-1686), 1978 WL 207269, at *9-14. In response, the

  government argued it was “virtually inconceivable” that Congress intended “to give

  up the government’s right of access to the retained sections,” and “no less

  inconceivable” for the United States to rely on eminent domain to ensure access.

  U.S. Br., supra, at *7. If the Supreme Court accepted petitioners’ argument, the

  government warned, the result would be that “public hunting, fishing, and other

  recreational uses [of the public domain] would be curtailed.” Id. at *34.

        The Supreme Court unanimously sided with Leo Sheep and reversed the

  Tenth Circuit. The Court began by noting that the government was not claiming “any

  express reservation of an easement in the Union Pacific Act” because there quite

  obviously was none. Leo Sheep, 440 U.S. at 678-79. Nor was there any “implicit



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  reservation of the asserted easement … established by ‘settled rules of property

  law.’” Id. at 679. The Supreme Court agreed that an “easement is not actually a

  matter of necessity in this case because the Government has the power of eminent

  domain.” Id. at 679-80. The Court also found it significant that the federal

  government had for a century acted on the assumption that “access rights” to

  checkerboarded public land “had to be purchased,” and had said so many times. Id.

  at 687; id. at 681 n.18, 687 n.25. “So both as a matter of common-law doctrine and

  as a matter of construing congressional intent,” the Supreme Court refused to “imply

  rights-of-way” for the government. Id. at 681-82.

        The Supreme Court recognized that its holding and reasoning might impair

  public access to public land. Id. at 685-88. But that did not matter legally because

  Congress never intended to reserve such a right in the first place. Id. at 681, 685-86.

  Instead, the Court found, Congress focused on “negotiation, reciprocity

  considerations, and the power of eminent domain as obvious devices for

  ameliorating disputes.” Id. at 681. Each of those solutions remained available. If the

  federal government wanted public access to checkerboarded public land, it could

  always pay appropriate “compensation.” Id. at 688.

        While Leo Sheep involved the federal government, its holding applies equally

  to the government’s licensees, including the public at large. After all, the public may

  enter and use public land only as the government’s licensee and at its sufferance. See



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  Buford, 133 U.S. at 326; 2 Pub. Nat. Res. L. § 15:4 (2d ed.) (“Most persons who go

  upon the federal lands do so under a revocable license, meaning that they are entering

  by sufferance, not by right.”). If the government lacks a generalized right of access

  to its land—as Leo Sheep held—then so does the public, for a licensee cannot

  exercise greater rights under a license than the licensor possesses. See Charles Kaiser

  & Charles Breer, Legal Issues Presented by Checkerboard, Inholding, and Split

  Estate Lands, 40A Rocky Mtn. Min. L. Inst. (1995) (Public “would have no greater

  right to cross private lands to reach public lands than the BLM did in Leo Sheep

  because they are acting as the government’s licensee and presumably do not have

  any greater rights than their licensor.”). Or, as the United States itself observed in

  Leo Sheep, “denial of the government’s right of access to its lands would … restrict[]

  … public use … of a large segment of the public domain.” U.S. Br. at *33-34.

        Leo Sheep establishes definitively that Congress did not reserve any right of

  public access to the checkerboarded parcels that would have permitted defendants to

  lawfully cross Iron Bar’s property. That decision is binding and forecloses any

  reserved right to corner cross.

               2.     Congress Did Not Create Access Rights to Public Lands in
                      the Unlawful Inclosures Act

        Congress also did not create any right of access to public lands by preempting

  state-law trespass actions through the Unlawful Inclosures Act. As its title signifies,

  the Act was designed to outlaw “unlawful” enclosures—efforts to obstruct access to


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  public land that was otherwise legally accessible. The Act does not purport to give

  the public any new, affirmative right to access public land, much less to preempt

  state law. Section 1061 generally declares unlawful “inclosures of any public lands

  … to be hereafter made, erected, or constructed.” Section 1063 prohibits “fencing or

  inclosing” as well as “force, threats, intimidation, … [and] any other unlawful

  means” to “prevent or obstruct[] any person from peaceably entering upon or

  establishing a settlement or residence on any tract of public land.” Neither provision

  creates a right of access—certainly not expressly, and not implicitly either. In fact,

  by referring only to “unlawful” means of prohibiting access, the Act acknowledges

  that property owners can still use “lawful” means to “prevent or obstruct” members

  of the public “from peaceably entering upon … public land,” id. § 1063—namely,

  by exercising their right to exclude others from entering their property. By

  permitting lawful impediments to access, the Act reinforces rather than undermines

  preexisting state property rights.

        Caselaw and the federal government’s own interpretation confirm as much.

  This Court held in Bergen that the Unlawful Inclosures Act “creates no easements

  or servitudes.” Bergen, 848 F.2d at 1506. That holding mirrors the official position

  of the federal government in Leo Sheep: “By its terms, the Act created no new rights

  or interests.” U.S. Br., supra, at *23 n.13 (emphasis added). Similarly, the Supreme

  Court in Leo Sheep held that the Act lacked “any significance” to whether the federal



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  government retained a right to access public land. 440 U.S. at 683. Citing Camfield,

  the Supreme Court explained that the Act permitted a landowner to “fence

  completely his own land,” including each individual “odd-numbered lot[],” even

  though doing so would “[o]bviously” prevent “access to [the] even-numbered lots”

  owned by the government. Leo Sheep, 440 U.S. at 685.

        Camfield itself recognized that a landowner would “doubtless” have the right

  to fence his separate sections—even if doing so obstructed access to public land—

  because “he is entitled to the complete and exclusive enjoyment of [his land],

  regardless of any detriment to his neighbor.” 167 U.S. at 527-28. If the Act allows

  private parties to enclose their individual landholdings so as to seal off access to

  public lands, then the Act cannot logically be read to convey an affirmative right to

  access public lands. See Omaechevarria, 246 U.S. at 344-45.


    PUBLIC   PRIVATE    PUBLIC    PRIVATE        PUBLIC    PRIVATE   PUBLIC     PRIVATE



   PRIVATE   PUBLIC     PRIVATE   PUBLIC         PRIVATE   PUBLIC    PRIVATE    PUBLIC




    PUBLIC   PRI\iATE   PUBLIC    PRIVATE        PUBLIC    PRIVATE   PUBLIC     PRIVATE



   PRIVATE   PUBLIC     PRIVATE   PUBLIC         PRIVATE   PUBLIC    PRIVATE    PUBLIC



             Unlawful fencing                               Lawful fencing



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        Here, Iron Bar did not “fence out” anyone from public lands that fall within

  the perimeter of its holdings. Iron Bar instead brought a trespass action, which is not

  by any characterization an unlawful enclosure. Nor is a trespass action an “unlawful

  means” of exclusion. Rather, it is a routine and lawful way for property owners to

  exercise “one of the most treasured rights of property ownership.” Cedar Point, 141

  S. Ct. at 2072. Put simply, defendants were “prevent[ed]” from “peaceably entering

  upon … public land,” 43 U.S.C. § 1063, not because of anything Iron Bar did, but

  because they never had a right to cross Iron Bar’s property in the first place.

        For similar reasons, Iron Bar did not violate the Act by posting “no

  trespassing” signs on the relevant corners and hanging a chain between them. Signs

  and a foot-long chain are not an “enclosure.” And they could not have “prevent[ed]

  or obstruct[ed],” id., defendants from lawfully entering public land unless

  defendants had a lawful right to enter in the first place (which they did not). The

  district court was thus correct not to address the Unlawful Inclosures Act until after

  deciding the legality of corner crossing (albeit wrongly). Add. 28.

        C.     Authorities Have Long Recognized Corner Crossing to Be Illegal

        Recognizing the illegality of corner crossing is neither novel nor

  controversial. Federal and state authorities have deemed the practice unlawful for

  decades.




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        In the 1980s, the BLM developed a “Wyoming Public Land Access Guide”

  that explained: “Corner crossings in the checkerboard land pattern area are not

  considered legal public access.” App. V1:136. In 1997, the BLM’s Assistant

  Regional Solicitor for the Rocky Mountain Region issued an opinion on “the

  public’s right of access to public lands in the ‘checkerboard’ area of Wyoming.”

  App. V2:233. Asked whether a person could “legally step over a checkerboard

  corner … without trespassing on the cornering private lands,” the Solicitor was

  unequivocal: “The answer to the question is no.” Id. Why? Because corner crossing

  necessarily means “trespass[ing] upon the property of the owner of the opposite,

  private, land.” Id. The BLM today warns hunters that “[i]t is illegal to cross public

  land at corners.” App. V2:237; id. (“[I]t may seem like a logical thing to step over

  the corner from one piece of public land to another…. [But] it is illegal to cross at

  boundary corners.”).

        Wyoming has been equally resolute. The BLM developed the “Wyoming

  Public Land Access Guide” in cooperation with Wyoming’s Game & Fish

  Department. App. V1:144-45. A decade later, the Wyoming Attorney General issued

  an opinion analyzing whether corner crossing violated two of the state’s criminal

  trespass laws. App. V5:1000-04. The Attorney General concluded that corner

  crossing did not violate Wyoming’s “trespass to hunt” law because that law prohibits

  only those trespasses that actually involve hunting on private property. But the



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  Attorney General emphasized that its conclusion about the “trespass to hunt” law

  “does not mean that ‘corner-crossing’ is lawful.” App. V5:1003 (emphasis added).

  Instead, “a person who ‘corner-crosses’ could be charged under Wyo. Stat. Ann. § 6-

  3-303,” Wyoming’s more broadly worded criminal trespass law. Id. Section 6-3-303

  is violated whenever someone “enters or remains on or in the land or premises of

  another person, knowing he is not authorized to do so, or after being notified to

  depart or to not trespass.” Id. The Attorney General noted that landowners own the

  space above the land, and that “the definition of ‘enter’ is expansive enough to

  include penetrating an invisible plane.” App. V5:1003-04. “Accordingly, passing

  through the space above private property, knowing one does not have permission to

  be on that private property, may be a criminal trespass under Wyo. Stat. Ann. § 6-3-

  303.” App. V5:1004.

        Other states have likewise confirmed that corner crossing without permission

  is unlawful. See, e.g., Montana Fish, Wildlife & Parks, Frequently Asked Questions

  from Montana Hunters 18 (2023), https://bit.ly/47fZWSI (“Corner crossing … is

  illegal without permission from the adjacent landowner(s).”); Hearing on H.B. 23-

  1066 Before the H. Agric., Water & Nat. Res. Comm., 2023 Leg., 1st Sess. (Colo.

  2023), at 2:39:14-2:39:28 (Ty Petersburg, Chief of Law Enforcement for Colorado

  Parks and Wildlife, explaining that Colorado charges 12 to 15 corner-crossing

  violations annually), https://bit.ly/3QoYeI9; Matthew Copeland, Cornered, Outdoor



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  Life (Aug. 10, 2015), https://bit.ly/49l7x4v (“Corner crossing … remains a

  prosecutable offense” in “Utah, Idaho, New Mexico, and Colorado.”).

                                     *      *     *

        Leo Sheep, Camfield, and other authorities cited above establish that even

  though the public has a revocable license to use public land, the public does not have

  an unlimited right to access that land by trespassing through private property. As the

  BLM summarized after Leo Sheep: the “public does not have an implied right-of-

  way to cross privately owned sections of ‘checkerboard’ lands to get to the

  Government-owned sections of those lands.” App. V2:233.1 The BLM accordingly

  warns the public that “[y]ou are not guaranteed access, even though you are trying

  to reach public lands.” App. V2:237; accord App. V1:136.

        Federal law does not authorize corner crossing, and because corner crossing

  violates Wyoming property law, the district court should have found defendants

  liable for trespassing.




  1
    “A right-of-way is a type of easement [that] grants the limited right to pass …
  through the estate of another.” United States Forest Serv. v. Cowpasture River Pres.
  Ass’n, 140 S. Ct. 1837, 1844 (2020).

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  II.   The District Court Erred in Legalizing Corner Crossing

        The district court did not dispute much of the analysis above. It agreed that

  Iron Bar “possesses a property interest in the airspace above its land … and generally

  holds the right to exclude others from its property.” Add. 26. It acknowledged Leo

  Sheep’s holding that the federal government did not reserve any right of access to

  public parcels in the checkerboard. Add. 21. Finally, the district court did not rely

  on the Unlawful Inclosures Act to establish the legality of corner crossing. Add. 28.

        The district court nevertheless held that the public has an implied right to “a

  reasonable way of passage” over private land to access public land that lies beyond.

  Add. 24. The court described this right as a “background principle” of law, but did

  not say whether it was federal or state law, nor from whence it sprang. Add. 27.

  Instead, the court relied on three factors: (1) a century-old Eighth Circuit decision,

  Mackay v. Uinta Development Co., 219 F. 116 (8th Cir. 1914); (2) some “additional

  considerations,” Add. 24; and (3) its sense that corner crossing was “only

  reasonable” in light of access problems posed by the checkerboard, Add. 27. None

  of those factors supports the district court’s conclusion.

        A.     Mackay Is Not Binding, Persuasive, or Even Good Law

        The district court found a right to corner cross “primarily” based on Mackay

  v. Uinta Development Co., 219 F. 116 (8th Cir. 1914). Add. 31. That was error.




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        Mackay involved a dispute between John Mackay and the Uinta Development

  Company, which owned private property in the Wyoming checkerboard. 219 F. at

  117. Mackay, a sheep herder, drove his flock of 3,500 sheep south to graze on public

  land for the winter. Id. at 117-18. En route, Mackay’s herd crossed over the

  company’s private land, which was entirely “open and unfenced.” Id. Mackay’s herd

  did not cross only at corners; rather, Mackay drove his flock “upon and along a strip

  of land three-fourths of a mile wide upon and across the entire length or width of

  some of the [company’s] sections of land,” with his sheep grazing on the land the

  entire way, and ultimately “consum[ing] nine-tenths of the grass thereon.” Id. at 120-

  21 (Sanborn, J., dissenting). Uinta sued Mackay for trespass, and the district court

  ruled in the company’s favor. Id. at 117.

        A divided Eighth Circuit reversed. Centering its analysis on the idea that

  Mackay’s right to access public land could not be merely “theoretical,” the Eighth

  Circuit concluded that Mackay’s passage had been reasonable, and that he was thus

  not liable for trespass. Id. at 119-20. The Eighth Circuit did not identify the source

  of law that apparently entitled Mackay “to a reasonable way of passage over the

  uninclosed tract of land,” but in support of its reasoning, the majority cited the

  custom of the open range identified in Buford v. Houtz and the Unlawful Inclosures

  Act. Id. at 120.




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        Applying Mackay, the district court here acknowledged that “questions

  remain concerning whether Mackay is still valid law” but found “no reasonable basis

  to believe it is not bound by Mackay,” and, regardless, found the case “particularly

  persuasive due to the many factual parallels.” Add. 19-20. The court thus adopted

  “the core principle of Mackay, that private individuals possess ‘a reasonable way of

  passage over the unenclosed tract of land without being guilty of trespass’ within the

  checkerboard.” Add. 24 (quoting Mackay, 219 F. at 120). That was error three times

  over: Mackay is not binding on this Court; it is not persuasive; and it is no longer

  good law.

        First, Mackay is not binding. Mackay was decided by the Eighth Circuit, not

  the Tenth. Although Congress created the Tenth Circuit by splitting the Eighth

  Circuit in 1929, this Court has “never held that the decisions of our predecessor

  circuit are controlling.” Est. of McMorris v. Comm’r, 243 F.3d 1254, 1258 (10th Cir.

  2001); Bryan Garner et al., The Law of Judicial Precedent 514 (2016) (same).

        The district court concluded otherwise based on dicta from a 1932 decision,

  Boynton v. Moffat Tunnel Improvement Dist., 57 F.2d 772 (10th Cir. 1932), in which

  a Tenth Circuit panel stated that “the decisions cited from the Supreme Court of the

  United States, from the Eighth Circuit Court of Appeals, and from this court, are

  binding upon us.” Id. at 781. But as this Court later clarified, that passing reference

  to Eighth Circuit decisions was dicta, McMorris, 243 F.3d at 1258 n.7, and the Tenth



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  Circuit has never suggested elsewhere that the Eighth Circuit’s decisions might be

  binding upon it. It would be shocking if the Tenth Circuit had secretly adopted the

  Eighth Circuit’s pre-1929 caselaw in toto but—in the century since—never once

  relied on any of that caselaw as binding authority.2

        Second, even if Mackay were binding, it would have little relevance to this

  case. Mackay was decided at the apex of the open-range era, and its holding must be

  understood in light of the distinctive property-law regime of the time. The Eighth

  Circuit repeatedly stressed that the private land crossed by Mackay’s flock was

  “uninclosed.” Mackay, 219 F. at 120; id. at 117 (“open and unfenced”), 119

  (“appearance is that of a common”), 120 (“a great grazing pasture”). Open, unfenced

  land was central to the majority’s holding because “to leave uncultivated lands

  uninclosed was an implied license to cattle and other stock at large to traverse and

  graze them.” Buford, 133 U.S. at 330. Mackay was thus an application of the custom

  of the open range, and the decision’s language about rights “to a reasonable way of

  passage” are limited by the scope and vitality of the custom upon which it rested.



  2
   This Court has treated the Eighth Circuit’s pre-1929 caselaw as a buffet, not a set
  menu. See S. Sur. Co. v. MacMillan Co., 58 F.2d 541, 545-46 (10th Cir. 1932) (panel
  was “disposed to follow” Eighth Circuit precedent); Buchhalter v. Rude, 54 F.2d
  834, 839 (10th Cir. 1931) (Eighth Circuit precedent would be “strong support” for a
  party’s position); New York Life Ins. Co. v. Doerksen, 75 F.2d 96, 100-01 (10th Cir.
  1935) (canvassing other circuits to adopt unique rule); Cox v. Vaught, 52 F.2d 562,
  564 (10th Cir. 1931) (treating Eighth Circuit precedent as persuasive); Shell
  Petroleum Corp. v. Corn, 54 F.2d 766, 770 (10th Cir. 1932) (same).

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        Given that context, Mackay has no relevance to the legality of corner crossing

  today. Congress closed the open range shortly after Mackay was decided, and private

  landowners are no longer understood to extend implied licenses that permit others

  to graze across their land.

        Third, even if Mackay were binding, and even if Mackay sought to declare a

  timeless (albeit unidentified) right to “a reasonable way of passage” to public land,

  Leo Sheep would have put any such claim out to pasture. Leo Sheep held that the

  federal government lacks any reserved right of access to public land in the

  checkerboard, and that the government lacks any affirmative right of access under

  the Unlawful Inclosures Act. Indeed, the Supreme Court reversed this Court’s

  opinion in Leo Sheep, which had invoked Mackay to excuse the government’s

  encroachment. The Supreme Court made clear that neither the government—nor the

  public as its licensee—has a generalized right of access to landlocked public

  property by trespassing through private property.

        Below, the district court resisted this conclusion principally on the grounds

  that Leo Sheep was so “factually and legally different” from Mackay “as to offer

  practically no persuasive value.” Add. 21, 24. The district court distinguished Leo

  Sheep on two grounds: first, because it concerned the rights of the government rather

  than the public, Add. 21-23; and second, because it involved the construction of a

  dirt road rather than travel by foot (or hoof), Add. 23-24. Neither distinction matters.



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        First, it makes no difference that Leo Sheep addressed the government’s right

  of access rather than an individual’s. As explained above, members of the public are

  the government’s licensees and thus have no greater access right than the

  government itself.

        Indeed, that is exactly how Mackay framed the issue. Mackay had claimed

  that “as a licensee of the government he was entitled to select a reasonable way over

  [private land],” Mackay, 219 F. at 118 (emphasis added), and the Eighth Circuit

  observed that “[a]s long as the present policy of the government continues, all

  persons as its licensees have an equal right of use of the public domain,” id.

  (emphasis added). The court declared that the landowner could not “cast upon the

  government and its licensees all the disadvantages of the interlocking arrangement

  of the odd and even numbered sections.” Id. at 119 (emphasis added). Mackay thus

  reflects that private-party access was, at most, co-extensive with whatever rights the

  government held as licensor. Once Leo Sheep established the government had no

  such rights, that holding curtailed the rights of the public under Mackay as well.

        It is similarly irrelevant that eminent domain is a sovereign power. The

  government may constitutionally take private property only “for public use.” U.S.

  Const. amend. V. Just look at Leo Sheep, where the government built a road over

  corners of private property to ensure access for the recreating public. 440 U.S. at

  678. Nothing precludes defendants from petitioning the government to use eminent



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  domain to create access to parts of Elk Mountain. Far from supporting the holding

  below, the fact that “the power of eminent domain (condemnation) is not an

  alternative available to Defendants,” Add. 24, underscores how much defendants’

  right of access is bound up with the government’s.

        The district court relied on a footnote in Leo Sheep that distinguished Buford

  as based on “a century old grazing custom,” and further noted that the Buford Court

  “also was influenced by the sheep ranchers’ lack of any alternative.” Add. 23; 440

  U.S. at 687 n.24. But like Mackay, Buford acknowledged that ranchers could use

  public land only under “an implied license” from the government. 133 U.S. at 326.

  Ranchers likewise had an implied license under Utah law to graze on private lands

  unless fenced out. Leo Sheep’s passing reference to the ranchers’ “lack of any

  alternative” simply acknowledged that sheep herders could not have grazed

  anywhere, contrary to the open-range grazing custom, if enjoined in that case. That

  custom has long since passed.

        Second, the district court stressed that “Leo Sheep concerned the construction

  of a public thoroughfare,” whereas this case involves “no damage or alteration to

  [Iron Bar’s] private property.” Add. 23-24. But whatever the facts of Leo Sheep, its

  controlling holding was that the government had no right to cross private property

  to create public access to public lands. Leo Sheep, 440 U.S. at 681-82. The Supreme

  Court repeatedly made clear it was rejecting the “right asserted by the Government



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  in this case,” id. at 681—namely, “a right of access to the retained even-numbered

  sections of land,” U.S. Br. at 2. Property law does not distinguish between rights of

  access for roadbuilding and other rights of access, and neither did the Supreme Court

  in Leo Sheep.

        The district court’s embrace of Mackay undercuts the purported limits of its

  own holding. While its opinion declares “there is no liability for trespass” when

  someone crosses corners “without touching the surface of private land and without

  otherwise damaging private property,” Add. 31, Mackay held that there was no

  liability for trespass even when someone does “touch[] the surface of private land,”

  and even when he does “damage private property.” Mackay thus proves too much.

  As interpreted by the district court, Mackay is not cabined to sheep passage; the same

  “access-public-land-at-all-costs” logic extends to trespasses far more invasive than

  corner crossing.

        Seeking to avoid that tension, the district court waved away the “significantly

  more intrusive” “‘way of passage’ taken in Mackay” as not being “at issue in this

  case.” Add. 24. Courts, however, are not free to cherry-pick portions of precedent

  they would like to follow, and the knock-on effects of the district court’s reading of

  Mackay would be vast. Other actors will undoubtedly apply its interpretation to

  justify more intrusive trespasses through private property, including ranchers

  leading their herds, all-terrain enthusiasts driving their ATVs, and hunters entitled



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  to vehicle accommodations. See Wyo. Admin. Code 040.0001.35 § 6 (holders of a

  disabled hunter permit may lawfully “shoot from a stationary vehicle to take

  wildlife”). Under the logic of the decision below, each of these actors, like the sheep

  herder in Mackay, would be “entitled to a reasonable way of passage” over private

  land, and each cannot feasibly cross at a corner without setting foot on private land.

  If Mackay remains the law, in other words, there is no principle that will limit

  Mackay to corner crossing.

          B.    Neither of the District Court’s “Additional Considerations”
                Supports Its Holding

          Besides Mackay, the district court relied on “two additional considerations”—

  a decision about airplane flight paths in New Mexico and a prospective amendment

  to Wyoming law—to “buttress[]” its holding that corner crossing is lawful. Add. 24.

  Neither of those “considerations” supports the district court’s holding.

          First, the district court cited Pueblo of Sandia ex rel. Chaves v. Smith, 497

  F.2d 1043 (10th Cir. 1974). Add. 25. In Pueblo, a Native American tribe sued a New

  Mexico airport for trespass, alleging that aircraft were invading the tribe’s property

  when they took off and landed at a nearby airport. 497 F.2d at 1044. This Court held

  that, in light of “th[e] context” of “low level flights,” the tribe was required to prove

  “interfer[ence] with the actual use of [the tribe’s] land” to establish a trespass. Id. at

  1045.




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        Pueblo has no relevance here. Most obviously, the court there did not apply

  Wyoming law. The district court below read Pueblo as requiring “some

  accompanying damage to or interference with the actual use of the landowner’s

  property,” Add. 25, but that has never been an element of a trespass claim in

  Wyoming, see Goforth, 352 P.3d at 250. Pueblo was also about trespasses involving

  aircraft, a sui generis branch of trespass law. Cf. Causby, 328 U.S. at 264. Pueblo

  drew its legal standard from the Restatement (Second) of Torts, 497 F.2d at 1045

  n.3, which explains that aircraft flights are trespasses only when they “interfere[]

  with [an]other’s use and enjoyment of his land,” whereas other types of above-

  ground intrusions qualify as trespasses even when they do not interfere with use and

  enjoyment. Compare Restatement § 159(1)-(2), with id., illustrations 3 and 4.

  Unsurprisingly, then, the district court below conceded elsewhere that “[t]he right of

  aircraft flight is immaterial to this case.” Add. 15 n.1.

        Second, the district court “buttressed” its holding with prospective changes to

  Wyoming’s criminal “trespass to hunt” law, Wyo. Stat. § 23-3-305(b), which the

  court interpreted as clarifying the legality of corner crossing.

        Start with the obvious problem: the amended version of the statute would not

  take effect until July 1, 2023—nearly two months after the district court’s ruling and

  almost two years after defendants corner crossed. Add. 25. A law that takes effect




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  after the district court entered judgment does not bear on the legality of conduct that

  occurred years earlier. Landgraf v. USI Film Prods., 511 U.S. 244, 265 (1994).

        The district court also misunderstood the prospective law’s substance. Since

  2004, the Wyoming Attorney General has affirmed that corner crossing does not

  automatically violate the State’s “trespass to hunt” law—but not because corner

  crossing isn’t a trespass. Instead, it’s because corner crossing does not necessarily

  (or even usually) involve hunting directly on private land. Supra pp. 40-41. The

  prospective amendment simply codified the Attorney General’s decades-old

  guidance. Critically, however, the Wyoming legislature chose not to amend Section

  6-3-303, the State’s more broadly worded criminal trespass law, and it is that law

  that Wyoming authorities have used to prosecute corner crossing. If anything, the

  Wyoming legislature’s decision to leave corner crossing within the scope of the

  State’s criminal trespass law—to say nothing of its civil trespass law—confirms that

  it was not trying to legalize corner crossing.

        C.     Questions About Public Access Warrant Political, Not Judicial,
               Solutions

        Ultimately, the district court believed corner crossing was the “only

  reasonable” “solution” to the access problem created by Congress. Add. 27. But

  courts are institutionally ill-equipped to “fix” policy problems or pick “reasonable”

  “solutions” in this manner. In legalizing corner crossing, the court short-circuited

  ongoing efforts by politically accountable actors to address the access problem.


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        Corner crossing implicates complicated policy considerations. Public land

  belongs to the public, and members of the public—including defendants here—

  should generally be able to access it. Yet not all access is the same, and corner

  crossing is a particularly unworkable practice that imposes costs on landowners, the

  environment, and ultimately the public itself. The district court failed to account for

  these costs while overstating the policy benefits of its preferred solution.

        First, its decision will inevitably lead to trespassing and damage to private

  property. While the opinion tries to cabin corner crossing to passage without

  “touching the surface of private land” or “otherwise damaging private property,”

  Add. 31, those limitations are neither realistic nor feasible.

        One cannot cross a corner without first finding it, and that is where the trouble

  begins. GPS devices and applications like onX can help identify only the rough

  vicinity of a corner. onX, for instance, has an average error range of 5-10 feet, and

  users regularly report errors of 50 feet or more. Being off by even 5 feet near a corner

  likely means standing several feet inside private property. onX accordingly warns

  users not to use the app to identify and respect property lines. See Terms of Use, onX

  (Aug. 4, 2023), https://bit.ly/49iDydj.

        Corners can be identified with precision only if there happens to be a

  monument—like a brass cap—marking the exact spot, but that is an uncertain

  prospect at best. Brass caps are often hidden under brush, rocks, snow, or fallen



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  timber. Elsewhere, no brass cap exists: the BLM has not re-monumented every

  corner, and many original monuments (rocks, sticks, dinosaur bones) have vanished.

  Still other corners are impossible to cross because they are found underneath trees

  or bodies of water, or atop cliffs, in thickets, or halfway down ravines. Even if a

  corner crosser manages to find a brass cap, it will often be too late—in the process

  of searching around, he will already have trespassed on private property multiple

  times. The decision below thus guarantees trespasses of the kind it purports to guard

  against while simultaneously setting a trap for the unwary recreationist.

        Second, corner crossing will impose significant costs on property owners. A

  substantial expense of rural landowners is fencing and regular patrols to keep out

  unwanted trespassers. App. V1:172. Private landowners in the checkerboard have

  traditionally not needed such measures for their internal property lines—that is,

  boundaries bordering corner-locked public parcels—because internal lines are

  distant from potential trespassers. But under the decision below, landowners will

  need to patrol and fence not only the outer boundaries of their estates, but also all

  the inner ones, at exponentially higher cost, as depicted below.3




  3
    The tan (mostly odd-numbered) areas are Iron Bar’s property; the green shaded
  squares are government-owned parcels. App. V3:372. The red lines represent
  hypothetical fencing throughout Iron Bar’s property.

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        Consider, too, the risks. Owners of checkerboarded land understood that,

  because corner crossing has long been illegal, their property would be private and

  secluded. Id. With corner crossing, however, members of the public, including

  hunters with high-powered rifles, will roam freely within the perimeter without

  notifying anyone of their presence. Most members of the public will act responsibly,

  but some will not. The potential for accidents (and worse) is obvious.

        Costs like these will diminish property values. Iron Bar projects a 10-25%

  diminution in value of its property from corner crossing, though some estimates

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  approach 30%. App. V1:173.4 If those losses are multiplied across the millions of

  acres of private land in the checkerboard, that would erase billions of dollars of

  private-property value.

        Third, corner crossing would have deleterious domino effects on the

  environment. Some landowners will respond by erecting fences along interior

  property lines, which will interrupt previously intact wildlife corridors and habitats,

  leading to biodiversity loss and ecosystem degradation. Fact Sheet: Habitat Loss &

  Fragmentation, Wildlife Soc’y (Mar. 2017), https://bit.ly/3yhSTbD. More

  generally, widespread public use of landlocked public parcels will fragment

  currently contiguous habitats in ways that have historically disrupted native

  populations. Id.

        Fourth, it’s debatable whether corner crossing will actually increase access to

  public land. Camfield and Leo Sheep recognized that landowners may lawfully fence

  their individual parcels of checkerboarded land, even if doing so blocks access to

  adjacent public land. Supra p. 38. Some, maybe most, landowners may decide that

  parcel-by-parcel fencing is the only economically viable solution to the problems

  imposed by corner crossing, in which case both property owners and the public will

  be worse off than before.



  4
   Commentators have mischaracterized this figure as damages Iron Bar seeks from
  defendants. Iron Bar dropped its claim for actual damages. App. V4:666.

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        The takeaway is not that corner crossing should be unlawful because of these

  costs. Rather, the point is simply that courts are not institutionally suited to weigh

  these factors or address the long-term consequences of different access policies.

  Gould, supra, at 172-73. The job of crafting a “reasonable” “solution” rests with

  politically accountable actors or private parties, not the judiciary.

        Fortunately, the relevant actors are stepping up. Federal, state, and local

  entities are enhancing public access across the country, employing a variety of

  solutions that respect private property interests.

        One early legislative fix was the Land and Water Conservation Fund, 54

  U.S.C. § 200301, which “help[s] preserve, develop, and ensure access to outdoor

  recreation resources.” Carol Vincent, Cong. Rsch. Serv., RL33531, Land and Water

  Conservation Fund 1 (2018). From 1964 to 2018, the Fund “opened more than 5

  million acres of public land [and] invested more than $16 billion in conservation and

  outdoor recreation.” Off Limits, But Within Reach: Unlocking the West’s

  Inaccessible Public Lands, Theodore Roosevelt Conservation Partnership (2018),

  https://bit.ly/3QcKU9m. In 2020, Congress passed the Great American Outdoors

  Act, Pub. L. No. 116-152, 134 Stat. 682, permanently funding the program and

  mandating appropriation of the Fund’s annual $900 million budget.

        The Federal Land Policy Management Act further expanded the government’s

  ability “to secure access to public lands” by “purchase, exchange, donation, or



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  eminent domain.” 43 U.S.C. § 1715(a). Land exchanges “offer creative, permanent

  solutions to a variety of use, access, and other problems created by private and state

  inholdings, split estates, and checkerboard lands.” Kaiser and Breer, supra, at 15.

  In 2018, the BLM used this statutory authority to exchange 12,603 acres of non-

  contiguous federal land for 11,586 acres of private land in Skull Valley, Utah,

  providing the public with its “first-time right to access certain recreation areas.”

  BLM, Utah land exchange improves public access to big game hunting (July 2018),

  https://on.doi.gov/3QPoiO5.

        The Federal Land Transaction Facilitation Act of 2000 created “a more

  expeditious process for disposal and acquisition of land” to “facilitate a more

  effective configuration of land ownership patterns.” 43 U.S.C. § 2301(6). The Act

  authorizes federal agencies to sell public lands and use the revenue to purchase

  private land or easements with high conservation or recreation value. 43 U.S.C.

  §§ 2304-05. In 2018, Congress permanently reauthorized the Act with the support

  of 165 sportsmen’s, conservation, and government groups. Federal Land

  Transaction    Facilitation   Act,    The     Conservation    Fund    (Feb.    2022),

  https://bit.ly/3MqGRFp. The amendment specifically authorized the BLM to target

  inaccessible lands that will “help[] consolidate the public-private land checkerboard

  in the West.” Id.




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        Complimentary initiatives are ongoing at the state level. The Block

  Management program in Montana, Open Gates in New Mexico, and the “Access

  Yes” programs in Wyoming and Idaho expand access for recreation on public land

  by incentivizing private landowners to “open their borders” for access. App. V4:637.

  These programs have expanded recreational access to public lands; about 1,200

  landowners enrolled over 7 million acres of land in Montana’s Block Management

  program alone for the 2022 hunting season. Montana Fish, Wildlife & Parks, What

  Is Block Management, https://bit.ly/3QPq7dT.

        Finally, non-profit organizations are partnering with landowners and

  governments to enhance public access to corner-locked land. Examples include the

  Theodore Roosevelt Conservation Partnership, the Wilderness Land Trust, and the

  Trust for Public Lands. John Sheridan, The Legal Landscape of America’s

  Landlocked Property, 37 UCLA J. Envtl. L. & Pol’y 229, 251 (2019). In 2017, for

  example, the Trust for Public Lands purchased a 600-acre ranch and then sold it to

  the BLM for $480,000, thereby opening up 32,000 acres of previously inaccessible

  land in Arizona’s Coronado National Forest. Id. at 250.

                                    *      *     *

        Given the scale of Congress’s initial folly—an astounding 300 million acres

  of checkerboarded land—one might wonder whether these efforts are meaningfully

  resolving the public access problem. The answer is unequivocally yes. Fewer than



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  nine million acres of public land remain corner-locked. App. V4:618. The Land and

  Water Conservation Fund alone has opened up 5 million acres of public land. Along

  with complementary initiatives described above, it will continue creating public

  access while respecting rights of private landowners.

        The decision below threatens to short-circuit these efforts. By crafting its own

  solution—legalizing corner crossing—the district court mandated a zero-sum

  outcome that pits hunters against landowners. This Court should reverse and allow

  politically accountable actors to focus on mutually beneficial solutions that increase

  access while honoring basic property rights.




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                                   CONCLUSION

        Iron Bar respectfully asks the Court to reverse the decision below.

                                           Respectfully submitted,

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                          ORAL ARGUMENT STATEMENT

        Pursuant to 10th Cir. L. R. 28.2(C)(2), Iron Bar requests oral argument in

  this case in light of the public significance of the issues raised.




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                          CERTIFICATE OF COMPLIANCE

        1.     The foregoing brief complies with the type-volume limitations of Fed.

  R. App. P. 32(a)(7)(B)(i) because the brief contains 12,985 words, excluding the

  parts of the brief exempted by Fed. R. App. P. 32(f).

        2.     The brief also complies with the typeface requirements of Fed. R. App.

  P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because this

  brief has been prepared in a proportionally spaced typeface using Microsoft Word

  365 in Times New Roman 14-point font.



   Dated: November 6, 2023                   /s/ R. Reeves Anderson
                                             Robert Reeves Anderson




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                    CERTIFICATE OF DIGITAL SUBMISSION
                        AND PRIVACY REDACTIONS

        I certify that all required privacy redactions have been made in this brief

  pursuant to 10th Cir. R. 25.5. I further certify that the hard copies of this brief to be

  submitted to the Court will be exact copies of the version submitted electronically

  and that the electronic submission of this brief was scanned for viruses with the most

  recent version of a commercial virus scanning program, and is free of viruses.



   Dated: November 6, 2023                     /s/ R. Reeves Anderson
                                               Robert Reeves Anderson




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                           CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2023, I electronically filed the foregoing

  brief with the United States Court of Appeals for the Tenth Circuit by using the

  appellate CM/ECF system. I certify that all participants in the case are registered

  CM/ECF users.



   Dated: November 6, 2023                     /s/ R. Reeves Anderson
                                               Robert Reeves Anderson




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                                  ADDENDUM




  Add. 1                            Add. 1                             Add. 1
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF WYOMING


 IRON BAR HOLDINGS, LLC, a North
 Carolina limited liability company
 registered to do business in Wyoming,

               Plaintiff,
                                                           Case No. 22-CV-67-SWS
        v.

 BRADLEY H. CAPE, ZACHARY M.
 SMITH, PHILLIP G. YEOMANS, and
 JOHN W. SLOWENSKY,

               Defendants.


             ORDER ON CROSS MOTIONS FOR SUMMARY JUDGMENT


        This matter comes before the Court on the following cross motions for summary

 judgment:

       (1)     Plaintiff's Motion for Partial Summary Judgment and supporting memorandum

               (ECF 63, 64), to which Defendants responded (ECF 68); and

       (2)     Defendants' Motion for Summary Judgment and supporting memorandum

               (ECF 65, 66), to which Plaintiff responded (ECF 67), and Defendants provided

               a limited reply (ECF 75) with the Court's leave.

 The Court heard oral argument on the motions on May 10, 2023.            (ECF 76.) Having

 considered the parties' submissions, the arguments of counsel, the record, the amid briefs

 (ECF 42, 45), and being otherwise fully advised, the Court finds, concludes, and orders as set

 forth here.




  Add. 2                                   Add. 2                                  Add. 2
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                                      INTRODUCTION

           Plaintiff privately owns a significant amount o f real property on E lk Mountain in

 Carbon County, \"'(lyoming. (r\m. Compl. il~ 1, 11; ECF 37-1.) Much of Plaintiff's private

 property borders and surrounds federal public lands managed by the U.S. D eparanent of

 Interior Bureau o f Land Management (BLM), state public lands managed by the State of

 Wyoming, and township lands managed by the Town o f Hanna. (ECF 64-9; see a!ro E CF 66-

 2.) Many of the private and public lands meet at their corners, forming a checkerboard pattern,

 as roughly demonstrated here:




 The points o f contact at each corner meet at an infinitely small point and, "like a point in

 mathematics, are without length or width." Mackqy v. Uinta Development Co., 219 F. 116, 118

 (8th Cir. 1914.) In brief, the tortured path resulting in this generally 40-mile wide checkerboard

 pattern of land ownership (20 miles on each side of the railroad track) has been summarized

 thusly:

           History and politics have complicated the pattern o f land ownership in the

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  Add. 3                                    Add. 3                                    Add. 3
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         West. To promote western expansion in the nineteenth century, the federal
         government encouraged the construction of rail lines through the West by
         granting every other 640-acre parcel along rail corridors to a railroad company.
         The hope was that the lands remaining with the government would increase in
         value as the companies built rail lines, which the government would later sell at
         high prices. The plan was successful further east, but the government struggled
         to sell the lands in the arid West. The result of this failed venture is the
         checkerboard pattern of public and private land that now plagues much of the
         West.

 Hannah Solomon, WJ,oming's Data Trespass Laws Trample First Amendment Rights, 18 Vt. J. Envtl.

 L. 346, 353-54 (2016) (footnotes omitted); see also uo Sheep Co. v. United States, 440 U.S. 668,

 670-77 (1979) (discussing the circumstances and events resulting in the creation of the

 checkerboard pattern of land ownership that persists today in parts of the West).

         "It is at once apparent that this checkerboard ownership pattern necessarily impedes

 the ability of government employees and the general public to travel to and from federal land,

 as frequently the only access routes travers private property." United States v. 82.46 Acres of

 Land, More or Less, Situate in Carbon Cn!J, Wyo., 691 F.2d 474,475 (10th Cir. 1982). This lawsuit

 involves the decades-long dispute of whether an individual is subject to civil liability for

 trespassing if they travel by foot through the checkerboard from public land to public land at

 the comers, while never touching private land and not damaging private property, without the

 permission of the owner(s) of the adjoining private land(s). The Court finds the century-old

 case of Mackay v. Uinta Development Co., 219 F. 116 (8th Cir. 1914), which also originated in the

 District of Wyoming, provides the answer and allows such corner crossing by foot without

 trespass liability.

                       SUMMARY JUDGMENT STANDARD OF REVIEW

         Summary judgment is appropriate where "there is no genuine dispute as to any material


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  fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). A

 dispute is genuine "if there is sufficient evidence on each side so that a rational trier of fact

 could resolve the issue either way," and it is material "if under the substantive law it is essential

 to the proper disposition of the claim." Becker v. Bateman, 709 F.3d 1019, 1022 (10th Cir. 2013)

 (intern~ quotation marks omitted). Testimony or other evidence "grounded on speculation

 does not suffice to create a genuine issue of material fact to withstand summary judgment."

 Bones v. Honeywell Int'/, Im:, 366 F.3d 869, 876 (10th Cir. 2004).

        The Court views the record and all reasonable inferences that might be drawn from it

 in the light most favorable to the party opposing summary judgment. Dahl v. Charles F. Dahl,

 M.D., P.C Defined Ben. Pension Trust, 744 F.3d 623, 628 (10th Cir. 2014). "Cross-motions for

 summary judgment are to be treated separately; the denial of one does not require the grant

 of another." Buell Cabinet Co. v. Sudduth, 608 F.2d 431, 433 (10th Cir. 1979)

        Generally, the moving party has "both the initial burden of production on a motion

 for summary judgment and the burden of establishing that summary judgment is appropriate

 as a matter of law." Kannady v. City of Kiowa, 590 F.3d 1161, 1169 (10th Cir. 2010) (quoting

 Trainor v. Apollo Metal Specialties, In,:, 318 F.3d 976, 979 (10th Cir. 2003)). If the moving party

 carries this initial burden, the nonmoving party may not rest on its pleadings but must bring

 forward specific facts showing a genuine dispute for trial. Id. (citing Jenkins v. Wood, 81 F.3d

 988, 990 (10th Cir. 1996)).

                                              FACTS

 1.     2020 Hunt and Comer Crossings

        In the fall of 2020, Defendants Cape, Smith, and Yeomans traveled from their homes


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 in Ivlissow:i to Carbo n County to hunt big game on Elk Mountain. (Am. Compl. ilil 2-4, 18;

 r\.nswer to i un. Com pl. ilil 3-5; 19.) T hey each had a valid hunting license and/ or tag to hunt

 in the area. (ECF 66 p. 10.) T hey drove on a public road, Rattlesnake Pass Road, to Section

 14, which is public land managed by the BLM, where they parked and set up their camp. (Cape

 D epo. 42:1 3-15.) O ver the next several days, they hunted o n several sections of public land

 in a south-southeastern directio n from their camp, specifically on Sections 24, 30, 36, and 26

 (id. 31:4-12), which are shown on the following map.

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 T his map is an excerpt from Plaintiffs Exhibit 8 (ECF 64-9), but the Cow:t notes Plaintiff also

 owns Sections 13 and 23, tho ugh not denoted on the map. (ECF 64 p. 3; ECF 68 p. 2; ECF


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 66 p. 4.) E ach numbered Section is one sguarc mile (640 acres) of land. (ECF 66-15 p. 7.)

        Upon approaching the northwest corner of public Section 24 from public Section 14

 (denoted at Pin Drop 8 on the map above), the three hunters were met with two steel posts,

 each with a "No Trespassing~' sign, that were connected together with a chain, a padlock, and

 some wire. One post was installed in Sec tion 13 (private) and the other in Section 23 (private),

 and the chain and wire ran through the air over the corner of Sections 13, 24, 23, and 14, as

 shown here from Defendants' Exhibit E (ECF 66-5).




 T he survey marker ("brass cap") shown in the photo between the two signs protruding about

 a foot out o f the ground designates the "corner" where Sections 13, 24, 23, and 14 meet. (ECF

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 66 pp. 3-4.) Other than these chained-together signs, there were no posts, fencing, or buildings

 within one-quarter of a mile of the corner. (Grende Depo. 43:4-8.)

        With their backpacks and hunting gear, Defendants Cape, Smith, and Yeomans could

 not fit between the signs and under the chain to move from Section 14 to Section 24. (ECF

 66 p. 6; see Grende Depo. 42:19-23 (agreeing the chain and lock "present a physical obstacle

 to anyone who is walking from Section 14 to Section 24 across the corner").) So, one by one,

 each grabbed one of the steel posts and swung around it, planting their feet only on Sections

 14 (BLM) and Section 24 (BLM) but passing through the airspace above Section 23 (Plaintiff)

 and/ or Section 13 (Plaintiff). (ECF 64 p. 4; ECF 68 pp. 3-4.) In holding onto the steel posts

 and swinging around them to cross from Section 14 to Section 24, there is no evidence the

 Defendants caused any damage to Plaintiffs property. (Grende Depo. 27:3-25.)

        They then proceeded with their hunt on the public land. At the other corners they

 crossed (denoted as Pin Drops 1, 2, and 5 on the above map), there were no further physical

 barriers such as steel posts and chain, so the hunters simply stepped or jumped over the survey

 marker/brass cap from public land to public land, again passing momentarily through airspace

 above Plaintiffs privately-owned land. (See, e.g., ECF 64 p. 8; ECF 68 p. 2; Cape Depo. 58:11-

 24 (describing stepping over the survey marker from Section 36 (BLM) to Section 26 (BLM));

 Yeomans Depo. 39:10-18.) The hunters spent about a week hunting in the area and crossed

 the corners multiple times using the methods described. (ECF 64 p. 4; ECF 68 p. 2.)

        Plaintiff observed Defendants Cape, Smith, and Yeomans during their 2020 hunt and

 did not approve of Defendants' presence. Plaintiff never consented to Defendants entering

 its property or airspace in any manner. (ECF 64 p. 8; see ECF 68 pp. 3-5.) Prior to 2020,


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 Plaintiff instituted an ongoing practice of having its employees confront or interact with a

 "suspected trespasser" found on or near Plaintiff's property, even if the person was found

 while on public land. (Eshelman Depo. 32:12-34:8, 66:17-25.) The suspected trespasser is

 instructed to leave, but if they resist, Plaintiff will contact local law enforcement, including the

 Wyoming Game & Fish Department, to seek a criminal trespass citation or other prosecution.

 (ECF 66 p. 9.) And if in Plaintiff's view law enforcement takes insufficient action on the

 matter, Plaintiff will continue to contact law enforcement to push the matter and will also

 contact the local prosecutor's office to request criminal prosecution. (Id. p. 9.) Finally, as

 here, Plaintiff may also institute a civil action against the suspected trespasser. (Id. p. 10.)

 Probably obvious at this point, Plaintiff considers corner crossing to be an invasion of the

 airspace above its land that constitutes unlawful trespassing. (Eshelman Depo. 60:20-25,

 63:13-23, 78:9-14, 83:25-84:8.)

        In 2020, Plaintiff's property manager, Steven Grende, confronted the Defendants

 when he found them on public land because he determined they could only reach such public

 land by trespassing, whether by corner crossing through Plaintiff's airspace or otherwise.

 (ECF 66 p. 10; Grende Depo. 68:9-20; Smith Depo. 25:17-26:17.) When he requested they

 leave the area, the hunters refused. (Yeomans Depo. 81:18-82:6.) Mr. Grende then contacted

 law enforcement to complain about the alleged trespassing. (Smith Depo. 56:4-11.) The

 hunters explained to the responding sheriff's deputy that they had corner crossed from public

 land to public land without touching private land, and law enforcement did not issue any

 warning or citation to the hunters in 2020. (Cape Depo. 105:3-23; Smith Depo. 56:1-57:23;

 Yeomans Depo. 80:14-81:14.) The three hunters successfully completed their hunting trip as


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  planned that year and then returned home.

        There is no evidence the three hunters physically touched the surface of Plaintiff's land

 when corner crossing or caused any damage to Plaintiff's private property in 2020. (Grende

 Depo. 22:1 2-24:20.)

 2.     2021 H unt and Corner Crossings

        The three hunters plus D efendant SlowenSh')' returned to the same area in the fall of

 2021 to hunt. Th.is time, in an effort to not touch Plaintiff's steel posts when crossing from

 public Section 14 to public Section 24, they brought a steel A-frame ladder that D efendant

 Cape had constructed. (ECF 64-10; Cape Depo. 77:2-22; Smith Depo. 34:1 -5; Yeomans

 D epo. 43:20-44:12.) As shown here in a cropped portion of Plaintiff's Ex. 9 (ECF 64-10), the

 ladder stradd led over the lower "No Trespassing" sign, with two feet resting on Section 14

 and the other two feet on Section 24. (ECF 66-15 p. 8.)




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 The now-four hunters crossed the same corners as the previous year plus a few more to access

 additional sections of public lands. Specifically, Defendants hunted on Sections 14, 24, 26, 30,

 36, 32, 6, and 8, while crossing the corners denoted by Pin Drops 1-8 on the following map.

 (See ECF 64 pp. 6-7; ECF 68 p. 2.)




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 This map was adapted from Plaintiffs Exhibit 8 (ECF 64-9) to show the additional Sections


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  ofland that were hunted in 2021, and the Court again notes Plaintiff also owns Sections 13

  and 23 though such is not denoted on the map. The hunters only used their ladder to cross

  from Section 14 to Section 24 because the other corners were unobstructed and they could

  simply step or jump over the survey marker/brass cap from public land to public land. (ECF

 64 p. 8; ECF 68 p. 2.)

         Defendants' 2021 hunting expedition did not go as smoothly as the prior year's.

 Plaintiff proved much more aggressive about expelling the hunters from the area and seeking

 their criminal prosecution for alleged trespassing in 2021. Mr. Grende and another Plaintiff

 employee confronted the hunters in person multiple times in attempts to get them to leave the

 public lands bordering Plaintiff's private lands.     (Yeomans Depo. 82:7-83:1, 83:18-84:1.)

 Plaintiff's employees also interfered with Defendants' hunt by constantly watching them from

 nearby and by driving motorized vehicles on public parcels near Defendants while they hunted

 in an effort to scare away the game. (ECF 66 p. 12.) When the hunters refused to stop corner

 crossing and hunting on the public lands, Mr. Grende contacted the Wyoming Game and Fish

 Department, which said it would not take action against the hunters. (Grende Depo. 68:21-

 69:5.) Undeterred, he then contacted the local sheriff's office, which initially also refused to

 take action against the hunters. (Id. at 69:6-15.) He then contacted the local prosecuting

 attorney's office, which said it was willing to prosecute the corner crossings as criminal

  trespassing. (Id. at 69:21-70:5.) The prosecuting attorney's office directed the sheriff's office

  to write citations for criminal trespass to each Defendant, which were issued. (ECF 66 p. 14;

 ECF 66-21 p. 8.) In connection, the Wyoming Game and Fish Department also instructed

 Defendants to leave the area and not enter the subject public lands again. (ECF 66 p. 14.)


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 Consequently, the hunters' 2021 hunting trip was cut short. Following a jury trial several

 months later, each Defendant was acquitted by the jury of the state criminal trespass charge.

 (ECF 66-24.)

        There is no evidence the hunters made physical contact with Plaintiffs private land or

 caused any damage to Plaintiffs private property in 2021. (Grende Depo. 21:2-23:2, 28:1-13.)

 3.     "Waypoint 6" from Defendant Smith

        During Defendants' 2020 hunting trip, Defendant Smith used a GPS mapping tool on

 his cellphone called "onX Hunt," which helps hunters find property lines and determine land

 ownership. (See Deel. Zachary Smith at mJ 3-8, ECF 72-1 p. 3; Spitzer Depo. 10:19-12:18.)

 Plaintiff subpoenaed the raw metadata created by Defendant Smith's use of the onX Hunt

 application and found that Defendant Smith had designated a waypoint, ''Waypoint 6," that

 was located on Plaintiffs private land and not near a corner. (ECF 67-3, 67-4.) Plaintiff

 contends Waypoint 6 establishes Defendant Smith, and maybe other Defendants, trespassed

 upon the surface of Plaintifrs private land in 2020. (ECF 67 p. 24.)

        The onX Hunt metadata for Waypoint 6 shows it was created on September 30, 2020

 (while Defendant Smith was hunting in Wyoming) and was deleted from the application on

 October 19, 2020. (ECF 67-3 p. 2.) Defendant Smith believes his onX Hunt raw data is

 accurate but says he does not recall creating Waypoint 6 and, in any event, it does not solely

 prove his physical presence at the location of the waypoint. (Deel. Zachary Smith at ,r,r 7-12.)

 An onX Hunt user can "drop" (create) a waypoint to designate their current location, but they

 can also drop a waypoint that is nowhere near their current location, including from a different

 state. (Spitzer Depo. 25:2-12.)


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                                           ANALYSIS

        The Court will focus its initial discussion on the issue of corner crossing and whether

 it, as it was performed by Defendants in this case, constitutes an actionable trespass.

 1.     Subject to Certain Restrictions, a Private Landowner Owns the Airspace Within
        a Reasonable Height of the Land and Enjoys a Right to Exclude Others from
        that Airspace

        No person can reasonably doubt the fundamental importance of private property rights

 to the development and continuing validity of the United States. "The Founders recognized

 that the protection of private property is indispensable to the promotion of individual

 freedom. As John Adams tersely put it, '[p]roperty must be secured, or liberty cannot exist."'

 Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2071 (2021) (quoting Discourses on Davila, in 6

 Works of John Adams 280 (C. Adams ed. 1851)). Indeed, the Fifth Amendment protects an

 individual's property against encroachment by the federal government and the Fourteenth

 Amendment protects that same property against encroachment by a state.

        While the U.S. Constitution protects a person's property interests,Jordan-Arapahoe, UP

 v. Board of Cnty. Comm'rs of County ofAraphoe, Colo., 633 F.3d 1022, 1025 (10th Cir. 2011), the

 actual property interests themselves "are not created by the Constitution. Rather they are

 created and their dimensions are defined by existing rules or understandings that stem from

 an independent source such as state law-rules or understandings that secure certain benefits

 and that support claims of entitlement to those benefits," Board of Regents v. Roth, 408 U.S. 564,

 577 (1972).

        We thus must turn to state law in understanding the scope of property rights in
        land ownership. This is not always a simple task. The modern understanding
        of the bundle of sticks of land ownership is overlain with myriad competing
        land use, zoning, and environmental regulations. A landowner faces numerous

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          restrictions on the full use and alienability of land depending on the interplay of
          local, state, and federal law.

 Jordan-Arapahoe, 633 F.3d at 1026; see Garnett v. Brock, 2 P.3d 558, 563 CWyo. 2000) ("In order

  to be afforded constitutional status, property rights must have been initially recognized and

 protected by state law."), ovemtled on other grounds by Brown v. City of Casper, 248 P.3d 1136 CWyo.

 2011).

          The property rights at issue in this case are two-pronged and intertwined: (1) Plaintiffs

 ownership of the airspace above its land, and (2) Plaintiff's right to exclude others from that

 airspace. Looking at the first prong, the Wyoming Statutes have stated since 1931:

          The ownership of the space above the lands and waters of this state is declared
          to be vested in the several owners of the surface beneath subject to the right of
          [aircraft] flight 1 ....

 Wyo. Stat.§ 10-4-302; see Cheyenne Airport Board v. Rogers, 707 P.2d 717, 722 CWyo. 1985). The

 U.S. Supreme Court similarly stated:

          [I]t is obvious that if the landowner is to have full enjoyment of the land, he
          must have exclusive control of the immediate reaches of the enveloping
          atmosphere. Otherwise buildings could not be erected, trees could not be
          planted, and even fences could not be run. The principle is recognized when
          the law gives a remedy in case overhanging structures are erected on adjoining
          land. The landowner owns at least as much of the space above the ground as
          he can occupy or use in connection with the land. The fact that he does not
          occupy it in a physical sense-by the erection of buildings and the like-is not
          material.

  United States v. Causby, 328 U.S. 256, 264 (1946) (internal citation and footnote omitted); see

  Griggs v. Allegheny County, Pa., 369 U.S. 84, 89 (1962) ("the use of land presupposes the use of


 1 The right of aircraft flight is immaterial to this case, which involves incursions into airspace only a few feet

 off the ground, but the Supreme Court case of United Stales v. Causby, 328 U.S. 256 (1946), effectively "divided
 the airspace into two strata. The landowner owned the airspace within the 'immediate reaches' of the surface
 of his land, but the upper air was navigable airspace, in the public domain." Pueblo of Sandia ex rel. Chaves v.
 Smith, 497 F.2d 1043, 1045-46 (10th Cir. 1974).

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 some of the airspace above it").

        Turning now to the latter prong, of course an owner of real property has a right to

 exclude others from their property. The Wyoming Supreme Court has explained, "Ownership

 of property implies the right of possession and control and includes the right to exclude others;

 that is, a true owner of land exercises full dominion and control over it and possesses the right

 to expel trespassers." Sammons v. Am. Auto. Ass'n, 912 P.2d 1103, 1105 (::ilyo. 1996). The U.S.

 Supreme Court similarly said, "It is true that one of the essential sticks in the bundle of

 property rights is the right to exclude others." Pruneyard Shopping Center v. R.obbins, 447 U.S. 74,

 82 (1980).

        Applying these ownership principles here, the law makes clear that Plaintiff is the lawful

 owner of "as much of the space above the ground" of its property as it could reasonably

 occupy or use in connection with the land. Additionally, Plaintiff has the right to exclude

 others from that airspace.

        Taken together, this would appear dispositive of the matter. This is not the end of the

 analysis, though. As the Court noted, "A landowner faces numerous restrictions on the full

 use and alienability of land depending on the interplay of local, state, and federal law." Jordan-

 Arapahoe, 633 F.3d at 1026. The U.S. Supreme Court has recognized landowners take their

 land subject to certain express legal restrictions, such as zoning ordinances, as well as

 "'background principles of nuisance and property law' [that] independently restrict the owner's

 intended use of the property." Ungle v. Chevron U.S.A., Im:, 544 U.S. 528, 538 (2005) (quoting

 Lucas v. South Carolina Coastal Countil, 505 U.S. 1003, 1026-32 (1992)). "And valid preexisting

 federal-law limitations on what otherwise would be state-law property rights are among the


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 limitations that may inhere in title so as to limit compensable property rights." M,Cutchen v.

  United States, 14 F.4th 1355, 1365 (Fed. Cir. 2021), cert. denied, 143 S. Ct. 422 (2022); see also

 Interstate Consol St. Ry. Co. v. Commonwealth ef Massachusetts, 207 U.S. 79, 87 (1907) ("the great

 constitutional provisions for the protection of property are not to be pushed to a logical

 extreme, but must be taken to permit the infliction of some fractional and relatively small

 losses without compensation, for some, at least, of the purposes of wholesome legislation").

 2.      Relevant Restrictions on the Ownership of Airspace and Right to Exclude
         Within the Checkerboard Pattern of Land Ownership

         Thus, the next step of the examination is determining whether there are any relevant

 restrictions on the Plaintiff's ownership of the subject airspace or its right to exclude others

 from that airspace. The Court's examination reveals history, federal caselaw, federal statutory

 law, and recent Wyoming legislation demonstrate corner crossing in the manner done by

 Defendants in this case is just such a restriction on Plaintiff's property rights because

 Defendants, "in common with other persons [have] the right to the benefit of the public

 domain," Mumfard v. Rock Springs Grazing Ass'n, 261 F. 842, 849 (8th Cir. 1919), which

 necessarily requires some limitation on the adjoining private landowner's right of exclusion

 within the checkerboard pattern of land ownership.

         First, and most pertinent to the issues here, is the case of Mackay v. Uinta Development

 Co., 219 F. 116 (8th Cir. 1914), which has many parallels to the instant lawsuit. In Mackay, the

 "Uinta Development Company sued Mackay for damages for trespass by trailing his sheep

 across and depasturing its lands in Wyoming." Id. at 117. Mackay was moving his sheep south

 across the Wyoming checkerboard to graze on federal lands for the winter. Id. at 117-18.

 Uinta Development Company warned Mackay not to cross its privately-owned lands on the

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 way. Id. at 118. Mackay nevertheless started his sheep south, crossing portions of the

 company's private land as well as parcels of public land as he went, while his sheep grazed

 upon the land the entire way. Id. Mackay "drove his sheep, over the protest and prohibition

 of the [company], upon and along a strip of land three-fourths of a mile wide upon and across

 the entire length or width of some of the [company's] sections ofland, and caus~d his sheep

 to consume nine-tenths of the grass thereon." Id. at 120-21 (Sanborn, J., dissenting). At the

 company's insistence, Mackay was arrested along the way, and the company also sued him for

 civil trespass. Id. After a bench trial, the district court rendered judgment for the company,

 holding Mackay liable for civil trespass damages. Id. at 117.

        On appeal, the Eighth Circuit reversed the District of Wyoming's decision. Id. at 120.

 The Eighth Circuit held: "The question here, which we think should be answered in the

 affirmative, is whether Mackay was entitled to a reasonable way of passage over the unenclosed

 tract of land without being guilty of trespass." Id. at 120. In determining that Mackay should

 have a reasonable way of passage over the company's private lands to access the public lands,

 the appellate court said:

        The company admitted [IV[ackay's] right as to the public domain, but warned
        him not to go over any of its lands on penalty of prosecution for trespass .... If
        the position of the company were sustained, a barrier embracing many thousand
        acres of public lands would be raised, unsurmountable except upon terms
        prescribed by it. Not even a solitary horseman could pick his way across
        without trespassing. In such a situation the law fixes the relative rights and
        responsibilities of the parties. It does not leave them to the determination of
        either party. As long as the present policy of the government [concerning public
        lands] continues, all persons as its licensees have an equal right of use to the
        public domain, which cannot be denied by interlocking lands held in private
        ownership.




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         This case illustrates the conflict between the rights of private property and the
         public welfare under exceptional conditions .... This large body of land, with
         the odd-numbered sections of the company and the even-numbered sections of
         the public domain located alternately like the squares of a checker-board,
         remains open as nature left it. Its appearance is that of a common, and the
         company is so using the contained public portions. In such use it makes no
         distinction between them and its own holdings. It has not attempted physically
         to separate the latter for exclusive private use. It admits that Mackay had the
         right in common with the public to pass over the public lands. But the right
         admitted is a theoretical one, without utility, because practically it is denied
         except on terms it prescribes. Contrary to the prevailing rule of construction,
         it seeks to cast upon the government and its licensees all the disadvantages of
         the interlocking arrangement of the odd and even numbered sections because
         the grant in aid of the railroad took that peculiar form. It could have lawfully
         fenced its own without obstructing access to the public lands. That would have
         lessened the value of the entire tract as a great grazing pasture, but it cannot
         secure for itself that value, which includes as an element the exclusive use of the
         public lands, by warnings and actions in trespass.

 Id. at 118-20.2

         The many parallels between the circumstances in Mackay and those here are obvious.

 And significant to Mackay's decision that a member of the public was "entitled to a reasonable

 way of passage over the unenclosed tract of land without being guilty of trespass" were the

  "exceptional conditions" created by the unique checkerboard of land ownership that is at the

 center of this controversy. However, questions remain concerning whether Mackay is still

 valid law all these years later, and the Court turns to those questions now.

         Mackay has never been expressly overruled, but whether it is binding on this Court

  appears unsettled. Mackay was decided by the Eighth Circuit Court of Appeals. In 1929,

  Congress divided the Eighth Circuit into two circuits. The Eighth Circuit retained Minnesota,


 2 Judge Sanborn dissented in Mackay, but not concerning whether Mackay had the right to cross the company's

 private land to gain access to the public lands. Instead, Judge Sanborn opined, "The owner of land is not
 deprived of his right to recover the damages he sustains by the taking by another of his grass, growing grain, or
 timber from his land, or the mineral out of it, even if the taker has the right to cross his land[.]" Mackay, 219
 F. at 121.

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  Iowa, North Dakota, South Dakota, Nebraska, Missouri, and Arkansas. The new Tenth

 Circuit took Wyoming, Colorado, Utah, New Mexico, Kansas, and Oklahoma. Thus, at the

 time of Mackay, Wyoming was part of the Eighth Circuit. In the years since its formation, the

 Tenth Circuit has issued conflicting guidance on the binding nature of prior Eighth Circuit

 decisions. Compare Boynton v. Moffat Tunnel Improvement Dist., 57 F.2d 772, 781 (10th Cir. 1932)

 ("decisions cited from the Supreme Court of the United States, from the Eighth Circuit Court

 of Appeals, and from this court, are binding upon us"), with Estate ofMtMorris v. Comm'r, 243

 F.3d 1254, 1258 (10th Cir. 2001) ("we have never held that the decisions of our predecessor

 circuit are controlling in this court").

        Because Mackay originated from the District of Wyoming and was decided by the

 appellate court then sitting over this Court, this Court can find no reasonable basis to believe

 it is not bound by Mackay's decision. Nonetheless, even if Mackay is somehow only persuasive

 authority, the Court finds it particularly persuasive due to the many factual parallels between

 Mackay and the instant case.

        Additionally, Plaintiff in this case has argued Mackay was implicitly overruled by Leo

 Sheep Co. v. United States, 440 U.S. 668 (1979). The material differences between Leo Sheep and

 Mackay suggest such a claim to be exaggerated. In Leo Sheep, two companies (Leo Sheep Co.

 and Palm Livestock Co.) owned the odd-numbered sections in an area of the checkerboard

 lands in Wyoming that sat east and south of the Seminoe Reservoir. Id. at 677-78. "Because

  of the checkerboard configuration, it is physically impossible to enter the Seminoe Reservoir

  sector from this direction without some minimum physical intrusion upon private land." Id.

 at 678. The federal government intervened after receiving several complaints that the private


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 landowners were denying the public access to the reservoir over the private lands or were

 demanding access fees. Id. Upon the theory that Congress reserved to the federal government

 an implied easement over the privately-owned checkerboard lands when they were originally

 conveyed, the federal government built a dirt road extending from a local county road to the

 reservoir that crossed both public and private lands and invited the public to access the

 reservoir using the new road. Id. The companies moved to quiet title in the private lands

 against the federal government. Id. The District of Wyoming granted the petition and quieted

 title in the companies, but the Tenth Circuit reversed on direct appeal, concluding Congress

 implicitly reserved an easement to pass over the private odd-numbered sections of the

 checkerboard in order to reach the even-numbered public sections. Id. On permissive review,

 the U.S. Supreme Court reversed the Tenth Circuit. Id. at 688. The Supreme Court found

 insufficient evidence existed to suggest Congress impliedly reserved an easement by necessity

 in favor of the government across the private lands. Id. at 681-82.

        The Court does not agree that Leo Sheep implicitly overruled Mackay for two reasons.

 First, several years after Leo Sheep was decided, the Tenth Circuit relied on Mackay in part in

  U.S. ex rel. Bergen v. Lawrence, 848 F.2d 1502, 1509 (10th Cir. 1988), and never noted or

 suggested Mackay was overruled or invalid in any manner.

        Second, and more significantly, uo Sheep and Mackay are too factually and legally

 different for the Court to conclude Mackay cannot coexist in a world with Leo Sheep. The

 primary intruder in Leo Sheep was the federal government, whereas in Mackay (as in the instant

 case) it was a private individual.   This is a fundamental difference because the federal

 government holds the power of eminent domain (condemnation), but private individuals do


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 not. Then Justice Rehnquist noted in L.eo Sheep, "This Court has traditionally recognized the

 special need for certainty and predictability where land titles are concerned, and we are

 unwilling to upset settled expectations to accommodate some ill-defined power to construct

 public thoroughfares without compensation." Id. at 687-88 (emphasis added). As this

 quote demonstrates, significant to the Supreme Court's consideration of the matter in L.eo

 Sheep was the federal government's power of eminent domain (condemnation) under the Fifth

 Amendment, which allows the government. to take private property without the owner's

 consent and convert it to public use (such as a public thoroughfare) in exchange for just and

 fair compensation.3 The L.eo Sheep opinion added: "Generations of land patents have issued

 without any express reservation of the right now claimed by the Government. Nor has a

 similar right been asserted before. When the Secretary of the Interior has discussed access

 rights, his discussion has been colored by the assumption those rights had to be purchased."

 Id. at 687 (emphasis added).               Essentially, the Supreme Court determined the federal

 government's argument for an implied easement was an attempt to condemn a portion of

 private property to build a public thoroughfare without having to pay for it. That simply isn't

 the case or the issue in Mackqy (or in the instant case).

           The eminent domain distinction is substantial because L.eo Sheep distinguished itself

 from a prior case that did not involve the federal government based in part on the availability

 of eminent domain. In Buford v. Houtz, 133 U.S. 320 (1890), a group of cattle ranchers owned

 some odd-numbered lots in the checkerboard pattern within the then-territory of Utah. Id. at




 3   See PennEast Pipeline Co., LLC v. New ]ersry, 141 S. Ct. 2244, 2251-52, 2254-57 (2021), for a recent discussion
 of eminent domain.

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  321-22. They sought an injunction against a group of sheep ranchers to prevent the sheep

 ranchers from moving their sheep across the odd-numbered parcels to reach even-numbered

 public lands for grazing. Id. at 322-24. The trial court dismissed the case, determining the

 cattle ranchers had failed to state a viable claim for equity to support its injunction request,

 and the supreme court of Utah affirmed the dismissal. Id. at 321. The U.S. Supreme Court

 agreed and also affirmed the dismissal, stating:

        The appellants [cattle ranchers] being stock-raisers, like the defendants [sheep
        ranchers], whose stock are raised and fattened on the unoccupied lands of the
        United States mainly, seek by the purchase and ownership of parts of these
        lands, detached through a large body of the public domain, to exclude the
        defendants from the use of this public domain as a grazing ground, while they
        themselves appropriate all of it to their own exclusive use .... If we look at the
        condition of the ownership of these lands on which the plaintiffs rely for relief,
        we are still more impressed with the injustice of this attempt. . . . Of this 921,000
        acres ofland, the plaintiffs only assert title to 350,000 acres; that is to say, being
        the owners of one-third of this entire body of land, which ownership attaches
        to different sections and quarter sections scattered through the whole body of
        it, they propose by excluding the defendants to obtain a monopoly of the whole
        tract, while two-thirds of it is public land belonging to the United States, in
        which the right of all parties to use it for grazing purposes, if any such right
        exists, is equal. The equity of this proceeding is something which we are not
        able to perceive.

 Id. at 325-26. The Supreme Court distinguished the Leo Sheep decision from Buford by stating,

 "The Court [in BufordJ also was influenced by the sheep ranchers' lack of any alternative." Leo

 Sheep, 440 U.S. at 687 n.24. The federal government's power of condemnation, to take private

 land for public use in exchange for fair payment, is the important alternative that was available

 in Leo Sheep but not available in Buford or in Mackay (or in this case). In sum, the Court does

 not find Leo Sheep implicitly overruled Mackay.

        The Court further finds Leo Sheep of limited applicability when examining the instant

 case. First, as already noted, Leo Sheep concerned the construction of a public thoroughfare (a

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  dirt road) across portions of private property, whereas the undisputed evidence in this case

  shows no damage or alteration to Plaintiffs private property.        In this case, the primary

  intrusion of Plaintiffs property takes the form of an incursion into a small portion of the

  airspace above the land that lasted a matter of seconds, not a permanent construction that

  altered Plaintiff's land. Second, like in Mackay, the power of eminent domain (condemnation)

  is not an alternative available to Defendants in this case. Thus, uo Sheep is so materially

  different from the case at bar as to offer practically no persuasive value on the matter. The

  Court concludes Mackay remains valid and finds it is the authority most directly on point to

  the questions in this case.

         In sum, Mackay is still valid authority that is at least very persuasive, if not outright

  binding, on the instant matter. The many similarities cause the Court to conclude the core

  principle of Mackay, that private individuals possess "a reasonable way of passage over the

  unenclosed tract of land without being guilty of trespass" within the checkerboard applies to

  the circumstances of this lawsuit. Admittedly, though, the "way of passage" taken in Mackay

  was significantly more intrusive than the "way of passage" taken in this case, and the scope of

  the path taken in Mackay is not at issue in this case. Instead, the scope of the path taken by

  Defendants in 2020 and 2021 is at issue in this case, which is where the Court now turns.

  3.     Determining the Scope of the Relevant Restriction on the Ownership of
         Airspace and Right to Exclude Within the Checkerboard Pattern of Land
         Ownership

         The Court's conclusion that the main principle of Mackay applies here to give

  Defen~ants "a reasonable way of passage over the unenclosed tract of land without being

  guilty of trespass" is both buttressed and limited in scope by two additional considerations.


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  First, the Court finds the Tenth Circuit case of Pueblo of Sandia ex rel Chaves v. Smith, 497 F.2d

  1043 (10th Cir. 1974), offers persuasive guidance on the matter. That case concerned aircraft

  travel rather than pedestrian travel, but the discussion there runs parallel to the issues

  concerning Defendants' corner crossings in this case. Specifically, the Tenth Circuit there

  stated an incursion into only airspace requires some accompanying damage to or interference

  with the actual use of the landowner's property to constitute an actionable trespass. Id. at

  1045.

          Appellant contends the allegation and proof of actual damages is unnecessary
          because violation of a landowner's possessocy right constitutes a trespass for
          which at least nominal damages are presumed. This is ordinarily true when
          trespass to realty is concerned. But traversing the airspace above a plaintiff's
          land is not, of itself, a trespass. It is lawful unless done under circumstances
          which cause injury.

  Id. Applying a similar principle to the present case, Defendants' temporary incursions into the

  airspace at the corners of Plaintiff's land does not constitute trespassing unless actual damages

  result therefrom, and there is no evidence that Defendants' airspace intrusions caused actual

  damage to or interfered with Plaintiff's use of its property. Neither does this Court believe

  Plaintiff can premise damages upon the loss of the right to exclude individuals from public

  lands, absent the use of an aircraft or human cannon shot, which Plaintiff never held.

          Second, recalling that the scope of property rights is largely defined by state law, the

  Court considers the recently amended version of Wyoming Statute§ 23-3-305(b), Senate File

  No. SF0056, which was passed overwhelmingly by the Wyoming Legislature earlier this year,

  signed into law by the Governor, and set to take effect July 1, 2023. The new version of that

  statute, with the recent amendments in bold, provides:

          (b)    No person shall enter upon, travel through or return across the private

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         property of any person to take wildlife, hunt, fish, collect antlers or horns, or
         trap without the permission of the owner or person in charge of the property.
         Violation of this subsection constitutes a low misdemeanor punishable as
         provided in W.S. 23-6-202(a)(v) [up to $1,000 fine and six months of
         imprisonment]. For purposes of this subsection "travel through or return
         across" requires physically touching or driving on the surface of the
         private property.

  Wyo. Stat.§ 23-3-305(b) (bold added) (to become effective July 1, 2023). The plain language

  of the recent amendments to this statute applies to corner crossings as they occurred in this

  case, where Defendants did not touch the surface of Plaintiff's land. Moreover, the statutory

  changes plainly demonstrate the Wyoming Legislature's intent to ensure such corner crossing

  does not constitute a criminal act.

  4.     Comer Crossing on Foot in the Checkerboard Pattern of Land Ownership
         Without Physically Contacting Private Land and Without Causing Damage to
         Private Property Does Not Constitute an Unlawful Trespass

         In sum, Plaintiff indeed possesses a property interest in the airspace above its land (up

  to a certain height that is not at issue in this case) and generally holds the right to exclude

  others from its property, but that right is not boundless. Defendants

         in common with other persons [have] the right to the benefit of the public
         domain, and the courts will not enforce any rule of property in the [Plaintiff]
         that will deny to the [Defendants] and those similarly situated a reasonable way
         of passage over the uninclosed tracts ofland of the [Plaintiff].

  Mumford, 261 F. at 849; see Mackay, 219 F. at 118 ("As long as the present policy of the

  government continues, all persons as its licensees have an equal right of use of the public

  domain, which cannot be denied by interlocking lands held in private ownership."). Plaintiff

  asserts, "Federal courts have recognized that Congress purposely created the checkerboard,

  and [Plaintiff] is not to blame for the problems arising from the pattern." (ECF 67 p. 25.)

  Plaintiff is correct that it is not to blame for the problems caused by the checkerboard pattern

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  ofland ownership, but "[i]n such a situation the law fixes the relative rights and responsibilities

  of the parties. It does not leave them to the determination of either party." Mackay, 219 F. at

  118. Plaintiff may not "cast upon the government and its licensees all the disadvantages of

  the interlocking arrangement of the odd and even numbered sections because the grant in aid

  of the railroad took that peculiar form." Id at 119-20.

         It is only reasonable for the owner of the private sections and the public, as the owner

  of the alternating sections, to share in the solution. Synthesizing the law surveyed above, the

  Court finds that where a person corner crosses on foot within the checkerboard from public

  land to public land without touching the surface of private land and without damaging private

  property, there is no liability for trespass. In this way, the private landowner is entitled to

  protect privately-owned land from intrusion to the surface and privately-owned property from

  damage while the public is entitled its reasonable way of passage to access public land. The

  private landowner must suffer the temporary incursion into a minimal portion of its airspace

  while the corner crosser must take pains to avoid touching private land or otherwise disturbing

  private property. Similar restrictions imposed upon a landowner within the "exceptionai

  conditions" created by the checkerboard, Mackay, 219 F. at 120, date back well over a century

  and are some of those "background principles of nuisance and property law [that]

  independently restrict the owner's intended use of the property," Lingle, 544 U.S. at 538

  (internal quotations omitted).

  5.     Defendants' Comer Crossings in this Case are Not Unlawful Trespasses

         In applying this principle to the undisputed facts of this case, the Court considers first

  the corner crossings where Defendants did not make physical contact with Plaintiffs land or


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  private property, including those where Defendants needed to only step over a survey

  marker/brass cap and where they used the A-frame ladder in 2021 to climb over Plaintiff's

  signs, lock, and chain without touching them. This covers every comer crossing in 2021 as

  well as all 2020 corner crossings except for the crossings between Section 14 and Section 24.

  The undisputed evidence here is that Defendants performed these corner crossings without

  physically touching Plaintiff's private land and without otherwise damaging Plaintiff's private

  property. (Grende Depo. 11 :14-12:12, 16:16-17:11, 21 :2-22:11.) Consequently, a cause of

  action for civil trespass does not lie against Defendants as it concerns these corner crossings,

  and they are entitled to summary judgment in their favor as to these corner crossings.

         The Court now considers the 2020 comer crossings between Sections 14 and 24, where

  Defendants Cape, Smith, and Yeomans admitted to holding onto Plaintifrs steel post to swing

  around the locked chain that connected the two steel posts. The Court again finds guidance

  in Mackay. The Unlawful Inclosures Act of 1885 (UIA), 43 U.S.C. §§ 1061-1066, was a

  consideration in Mackay but was not singularly controlling. See Mackay, 219 F. at 120. The

  Court similarly finds the UIA applicable but not singularly controlling regarding Defendants'

  2020 comer crossings between Sections 14 and 24. The UIA states in relevant part:

         No person, by force, threats, intimidation, or by any fencing or inclosing, or any
         other unlawful means, shall prevent or obstruct ... any person from peaceably
         entering upon ... any tract of public land subject to ... entry under the public
         land laws of the United States, or shall prevent or obstruct free passage or transit
         over or through the public lands[.]

  43 u.s.c. § 1063.

         It is undisputed that the locked chain that was installed between the steel posts by

  Plaintiff hung through the airspace over the adjoining public land of Sections 14 and 24.


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  (Grende Depo. 39:5-14.) And the locked chain further presented a physical obstacle and

  obstruction to anyone attempting to step across the corner from Section 14 to Section 24.

  (Grende Depo. 42:19-23.) Thus, Plaintiffs lock and chain constituted an improper attempt

  to "prevent or obstruct ... any person from peaceably entering upon ... any tract of public

  land" in violation of the UIA. 4 The Eighth Circuit in Mackay said about the UIA, ''We think,

  however, that a private litigant cannot recover from another for an invasion of an alleged right

  founded upon his own violation of the statute." Mackay, 219 F. at 120. Plaintiff's violation of

  the UIA forced Defendants to grab the steel posts, which were anchored on private property,

  to maneuver around the physical obstacle. Consistent with Mackay, Plaintiff may not recover

  for a trespass, if any, occurring due to Plaintiffs violation of the UIA.

          Moreover, and apart from the UIA, the undisputed evidence again shows Defendants

  did not touch the surface of Plaintiffs land or damage its private property in connection with

  these corner crossings. (Grende Depo. 22:12-24:20, 27:3-28:13) Consequently, a cause of

  action for civil trespass does not lie against Defendants as it concerns these 2020 corner

  crossings, and they are entitled to summary judgment in their favor as to these 2020 corner

  crossmgs.

          As it relates to the various corner crossings performed by Defendants in moving from

  public land to public land by foot in 2020 and 2021 within the checkerboard pattern of land

  ownership, they cannot be subject to liability for civil trespass. Defendants are therefore

  entitled to summary judgment in their favor concerning Plaintiffs cause of action for civil



  4 In addition to precluding the use of physical barriers,§ 1063 of the UIA also makes it unlawful to threaten or

  intimidate any person from peaceably entering upon any tract of land subject to entry under the public land
  laws of the United States, or preventing or obstructing free passage or transit over or through the public lands.

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  trespass related to all of Defendants' corner crossings.

  6.     A Genuine Dispute of Material Fact Exists Concerning Whether ''Waypoint 6"
         Constitutes Unlawful Trespassing

         Recall that Waypoint 6 does not appear to involve an act of corner crossing but rather

  an alleged trespass upon the surface of Plaintiffs private land, Section 19, in an area away from

  a corner. (See ECF 67-4.) Waypoint 6 was created on September 30, 2020, on the onX Hunt

  application being used by Defendant Smith, and it was deleted (from the app but not from

  onX Hunt's metadata) about three weeks later. (See ECF 67-3 p. 2.) And a waypoint can be

  created without the user ever being at the designated location.

         Many or most of the waypoints created by Defendant Smith indicated his current

  location or an area where he had been or intended to go. (See ECF 67-5.) On the other hand,

  all Defendants were adamant in their depositions that they never stepped foot on Plaintiffs

  private land. Defendant Smith also expressly asserted under penalty of perjury that his onX

  Hunt metadata is accurate, that he must have created Waypoint 6 without realizing it, but he

  never made physical contact with or traveled to Waypoint 6. (ECF 72-1.) Thus, evidence

  exists to support Plaintiffs claim of trespass as to Waypoint 6, specifically the conceded

  accuracy of the onX Hunt data and the other waypoints that depicted many of Defendants

  Smith, Cape, and Yeomans physical locations. Contrary evidence in the form of Defendants'

  depositions and declarations exists to counter Plaintiffs claim as to Waypoint 6. Therefore,

  the Court finds a genuine dispute of material fact exists regarding whether a Defendant

  trespassed upon Plaintiffs Section 19 in connection with Waypoint 6, and the question should

  be submitted to a jury for determination. Summary judgment is not appropriate on this issue.

         On this claim, though, the undisputed evidence is that Plaintiff does not know of any

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  damage and has not repaired any damage caused by Defendants to its property in 2020.

  (Grende Depo. 24:11-20, 27:8-12.) Accordingly, only nominal damages in the maximum

  amount of $100.00 are at issue for Defendants' alleged trespass in 2020 concerning Waypoint

  6. 5 See Goforth v. Fifield, 352 P.3d 242, 250 ~yo. 2015) (noting that when no actual damages

  are shown, Wyoming allows the recovery of nominal damages for an actionable trespass, and

  the Wyoming Supreme Court interprets nominal damages to max out at $100.00 based on

  Wyo. Stat.§ 1-14-125).

                                             CONCLUSION

          The conflict inherent in the checkerboard pattern of landownership, which pits a

  landowner's right to exclude others from private property against the public's right to access

  public lands, has been around for well over a century and has visited this Court multiple times

  over the years. In determining the present lawsuit, the Court primarily relies on the opinion

  from Mackay v. Uinta Development Co., 219 F. 116 (8th Cir. 1914), which originated in this Court

  and was issued by the appellate court for this Court. Mackay explained that for "exceptional

  conditions," including the conflict borne of the checkerboard, "the law fixes the relative rights

  and responsibilities of the parties. It does not leave them to the determination of either party."

  Id. at 118. And the Court's survey of the law revealed that where a person corner crosses on

  foot in the checkerboard from public land to public land without touching the surface of

  private land and without otherwise damaging private property, there is no liability for trespass.

  See id. at 120 (''The question here, which we think should be answered in the affirmative, is




  5  Defendant Slowensky was not present for the 2020 hunting trip and therefore cannot be liable for any such
  trespass.

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  whether Mackay was entitled to a reasonable way of passage over the unenclosed tract of land

  without being guilty of trespass."). This determination, though, is necessarily unique to and

  limited in application to the "peculiar" "interlocking arrangement of odd and even numbered

  sections," id. at 119-20, making up the checkerboard pattern of land ownership created by

  Congress in the mid-1800s.

         When this law is applied to the undisputed evidence in this case, no reasonable jury

  could find Defendants liable for civil trespass for their corner crossing activities. However,

  the facts and circumstances surrounding Waypoint 6 are in genuine dispute, and this claim of

  trespass must be submitted to a jury for a decision, albeit limited to nominal damages.

         The Court addresses one final matter. While this lawsuit has been pending, and with

  greater frequency in recent weeks, the Court has received various attempts, whether by email

  or phone call, from members of the public to offer their opinions as to how this Court should

  resolve this controversy. These submissions have come from people who are not parties to

  this case and who, unlike the amid parties, have not been given permission by the Court to

  tender a submission that can be viewed and responded to by all parties. The Court's staff has

  screened these improper submissions, and the Court has not reviewed or considered these

  submissions as part of examining the issues in this case, nor will the Court review or consider

  them or any other improper ex parte submissions in the future. Attempts by a person or entity

  not a party to a lawsuit to influence or persuade a court of law's decision are improper.

  ''Whereas the fundamental function of a legislature in a democratic society assumes

  accessibility to [public] opinion, the judiciary does not decide cases by reference to popular

  opinion."   Hodge v. Ta/kin, 799 F.3d 1145, 1159 (D.C. Cir. 2015) (quotations omitted)


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  (alteration in original). The found ers o f the United States sought to insulate the Judicial branch

  of government from public opinion so judges could apply and be influenced only by the law,

  not by popular opinion or public polling. This Court's sworn obligation is to uphold and apply

  the law. The Court has done its utmost to decipher the applicable law and apply it to the facts

  of this and every case. To the extent this Court's determination of the law is believed to be

  erroneous, the remedy is for a party to take an appeal.

                                              ORDER

         In conformity with the findings of fact and conclusions o f law determined herein,

         IT IS HEREBY ORDERED that D efendants' Motion for Summary Judgment (ECF

  65) is GRANTED IN PART AND DENIED IN PART. D efendants are entitled to

  judgment as a matter of law as to all claims of trespassing involving D efendants' corner

  crossings in 2020 and 2021. D efendants' request for summary judgment is denied as to the

  claim of trespassing involving \Vaypoint 6 (which does not involve corner crossing) due to the

  existence o f a genuine dispute o f material fact, but any recovery by Plaintiff on such claim

  shall be limited to nominal damages.

         IT IS FURTHER ORDERED that Plaintiff's Motion for Partial Summary Judgment

  (ECF 63) is DENIED. Plaintiff is not entitled to judgment as a matter of law concerning

  D efendants' corner crossings in 2020 and 2021, and a genuine dispute o f material fact exists

  to preclude summary judgment concerning the alleged Waypoint 6 trespassing (which does

  not involve corner crossing).

         ORDERED: May ✓'t:
                      /J/~ , 2023.                  ~                     ~
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                                                        United States DistrictJudge

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                                  UNITED STATES DISTRICT COURT
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    Carolina limited liability company
    registered to do business in Wyorn.ing,

                   Plaintiff,
                                                                  Case No. 22-CV-67-SWS
           V.



  BRADLEY H. CAPE, ZACHARY M.
  SMITH, PH ILLIP G . YEOMANS, and
  JOHN W. SLOWENSKY,

                   Defendants.


                                           FINAL JUDGMENT


           T his matter comes before the Court on its Order on Cross Motions for Summary Judgment

    (ECF 83), which is fully incorporated herein by tfos reference, and Plaintiffs Withdrawal of Remaining

  Claim (ECF 86), which withdrew Plaintiffs claim of physical surface trespass. Together, these

  documents dispose of all causes of action.

           FINAL JUDGMENT is hereby entered in favor of Defendants and against Plaintiff on all

  claims of airspace trespass and declaratory judgment. Plaintiffs claim of physical surface trespass is

  voluntarily withdrawn. Neither party is entitled to an award of attorney fees in this action, and any

  award of costs will be governed by Fed. R. Civ. P. 54(d)(1) and Local Civil Rule 54.2.
                     -v;.,.,,e /~r, 2023.
           DATED: Mry_ _,__


  F.R.C.P. 58(6)(2) approval as to form:                  Entered:



~           .t6~
  United States D istrict Judge




     Add. 34                                    Add. 34                                                  Add. 34
               Case 2:22-cv-00067-SWS Document 108 Filed 07/19/23 Page 1 of 2
Appellate Case: 23-8043            Document: 010110947715          Date Filed: 11/06/2023        Page: 111




  IRON BAR HOLDINGS, LLC, a North
  Carolina limited liability company
  registered to do business in Wyoming,

                     Plaintiff,
                                                                  Case No. 22-CV-67-SWS
          v.

  BRADLEY H. CAPE, ZACHARY M.
  SMITH, PHILLIP G. YEOMANS, and
  JOHN W. SLOWENSKY,

                     Defendants.


                                    AMENDED FINAL JUDGMENT


          This matter comes before the Court on Plaintiffs Motion for Issuance of Amended Judgment

  Pursuant to Fed. R. Civ. P. 60(a) (ECF 106). Having considered the unopposed motion and reviewed

  the record herein, the Court grants the motion and orders as follows:

          Together, the Order on Cross Motions for Summary Judgment (ECF 83), which is fully

  incorporated herein by this reference, and Plaintiffs Withdrawal of Remaining Claim (ECF 86), which

  withdrew Plaintiffs claim of physical surface trespass with prejudice, disposed of all causes of action

  in this lawsuit.

          FINAL JUDGMENT is hereby entered in favor of Defendants and against Plaintiff on all

  claims of airspace trespass and declaratory judgment. Plaintiffs claim of physical surface trespass has

  been voluntarily withdrawn with prejudice and is therefore dismissed with prejudice. Neither party is

  entitled to an award of attorney fees in this action, and any award of costs will be governed by Fed. R.

  Civ. P. 54(d)(1) and Local Civil Rule 54.2. This Amended Final Judgment is effective nunc pro tune to

 June 1, 2023, the date of the original final judgment.




   Add. 35                                      Add. 35                                     Add. 35
             Case 2:22-cv-00067-SWS Document 108 Filed 07/19/23 Page 2 of 2
Appellate Case: 23-8043            Document: 010110947715          Date Filed: 11/06/2023   Page: 112


                                    A
           DATED: July       I f ,2023.

    F.R.C.P. 58(b)(2) approval as to form:             E ntered:


 ~            vv: ~
~            Skavdah.l
    United States District Judge




                                              Page 2 of2



    Add. 36                                   Add. 36                                   Add. 36
